Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 1 of 47 Page ID #:14




                   EXHIBIT A




                                                                           EXHIBIT A
                                                                            Page 13
     Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 2 of 47 Page ID #:15




                                                                      -SUMMONS
                                                          (CfTA C1.ON JUDICIAL)
                                                                                                                                              Fi L E D,
          "jqqT1.69 TO.0 MNDANT:                                                                                                SUPERIOR COURT OF-CAUFORNIA
            fAVOSMIL.-P-7MANDADO):                                                                                               COUNTY OF SAN j3ERNARDINO
                                                                                                                                                      IC
                                                                                                                                  SAN BERNARDINO biSTR T
             AIvIAZONTUL      ILLW          RVICE ,1N.C., d;1)61awdre c
                                                                      co
                                                                       . rporati n
                    tbEN STATE-EC L-LC, -a Del-aWaid to'         'd bOES 1"100                                                              DEC 0 4 2017'
           'Y61j'.ARt- BEING'SUED-BYPLAINT.IFF:
         . ,(LQ 9S'r,.A Oi~"AQAkbtl- tL DERANDWVTX }:                                                                          BY                                   0z
             BurrANY                     g4omAN-
                                        ,arid ALBERTO GIANINI,iiidiyidually, and on                                                      DANIE~A TIRAbO, nFPI
             beii a if 6
                       ' f othermembers of the general pubjic similqly situdtod-

               NPTICEI Ydii hive been pued. The court may deddeogainst you Without yourbeing heard urdessy0urespond wlthin 30 days-Read theinformatiqn.
.4             bebw
                 :yo-u have 30 CALENDAWDAYP after this summQns and legal papep are sefvad onyou to filo a'wdtter) rpsporiiel0this cb x4
            .,sejV_e          OlainUff. A leiter 6r,phone call will not protedt:yoii Y6dr Wraten ietoonsi inust be 1p pmOar teOlfov.1t,youventthe.cbl it.ici.hdar your
            ..i~~e'T.he'fd 'in4beac6ijr.t-for.mtha t~y6upM,.us     Q f6r.yoU ~fesp
                                                                                 onSe. Yoican find esecourt                                 at,..the C6fforpIaQourts'
               QnlindVelf- 61P Ceriter(wzw.ci2t~~fo.caLgo*v/seIfti~),'y6ti c6unty law-llp rary, or14 courthouse nearest you. If yoLfcannot p. ayihifffl  'lnj feb',• Abk
              Ahe couA dirk-a *  fee Niah~r form Ify.ou.do nol'rd'e yourres- ponse on HM O, yowifay losb ft cb§e
               miy beW eh*,4*otit*fuAhb'r'War*g'from the muit                                                                                                    prq0kk
                 'ThOe 6re other tegal'req6fr4ments. You'may want to call an attbiney iight akya y.ifyoudonatkgowanattomey,~ou.ri         -LiywanttocallOn-attorhey
             -referral service.if you chnnot affoid an *altorn6i, you may'l* engible for trea.legat sdNlces trom a inotiprofit IdgW4eK
                                                                                                                                    'qces tifdgrarp
                                                                                                                                            -         :You c-.n locate
               thasa nqriprord groups- at the CaiifoWa Legal Sbrv~eS'Web'site-(MvWJa*helpc~lifoMii-org), the Callfornia.Courls Onlide S414alp*Center
             (WWW.Wiktb7fMCi).goVI40.1help), 6r t~XWPdjpg your local court or couniy bar as        '_Sodaiion.'Ndt#_ Th6 ci m has a Matutdr0en fd(yf4iyqd.fias           -
              ;*Is.on.afiy:iefU6in'  eri1-4 a: rbitmlbn'eiward of $1 0,000.ormore Ina clvll casp_ The 66LO.5 Oen must be paid before ihe oDul.will dWmiss
              jAWSOI Lo h6 damwWado. Sf 17p respo.nde dent(o do 30 dlas,.Ia Orte puede de@&iah su'conIra sin-6scuch:'- su vw*!i Lea.la ir?f pmr.              -;r *6 n a
                 'rien&-,qo DIM DE            cA ,)AF?16deqpu4s.de que-Ja antrequen esiarchacmn                                               ;puesle ppr.&Wkp art Wo.
                                                                                                                                    .Sumspuoslipa~e=iitottene.que.&star
                                                                                                                                                                   Ues
                                                                                                                               do C;etihmfe
                                                                                                                             :d&pr&s6h1acf6P;%#d              w4q la cpde..
                                                                                                                               pwderelcas6,por
              podoquilhRrr,
                                                                                                                                  a un abogado, puede jamar 6 un sefw'clo md6
       . . . . . . . . . . . . . .. .              . . . ..   .   .                     .   . . . .. .       ..        -        bblendt sdtWcios loyabs gratyg., os d.&:O *
                                                                                                                  defacro en el      web-de C         L.epl           S,
                                                                                                                                              n.plqqfo~. 'ib o.'et.
                                                                                                                                             en
                                                                                                                                             4
                                                                                                                                            impohet ►fn'g ravairieA
                                                                                                                           da giihitio    up.cp.To 09 de              M194 qud.

                               of     .ourt is-                                                                               C~&E NIMARM
           (Einombie,ydirecaa4"da)ecevioes). San Bemardiiio District — Civil Division
                                                                                                                                1, dl I
            .2.4. 7 West Third Street
                                                                                                                                       tl\&S 17.23776
            San Bemardino,CA 92415-0210                                                                                                                                  a. f       FA'X
                                        .
            The narne, -address- and Wep~one h6MberofpIdIn1lffs aftomeybtplaintiff.wilhout an dttorney, is',
            fq-vombM, la 6~iM ye1,'nbm1iio d0aWbrio'dei0b6gado d6ld&h0ri6hte,.adlef demandanle que;natfane abogado, es):
                                                       1.1
             Shawn.C. W6strick, 0.75 Sant4 Mo.dica Blvd., Ste. 125, Los A09616s, CA .90025 (316).746-5303

                                                                                   le,1.                 .                                                          .,Dap4ly.
                                                                                                                                                                    .
                                                     T2010
                                                         '1 DEC 0 4 2017          (Secretafio)
                         10of-sempe of t~sVmmons,.M.Proqf`.oI`Servim of Summons(form POS410).).
                         rtieba do.enbep.dee.slaa4ti6nuse:ettornwkribProdtofSelviceofSum.mons. iPvs_ofol
                                               k4oTicE Tc) 'rHE PERSON SF-RVED: You are!served
                                               1.                        1
                                                       as.an lnaviduit defend'ant
                                               2- r--j at the poiWon dtia;d Aiti0r tfiq.fiqa'Opus Apme-of(spa*).-


                   %we                                             C7 0Q 13041f0 .f(SPOWV.- Golden State FC
                                                                  3.                                                       LLC, a Delaware Corporation.
                                                                                         .(co"tation)                    CCP 41.6.66. (mijior)
                                                                       undeir;        CCP41000
                                                                                                                         CCP41'0.70'(conserVate!e)
                                                                                      CCP418.40(associaUonorNrt"ership) 0CCP41.6.'9D(iutI)qdzed0en;on)
                                                                                 ED
                                                                                      other(spedfy):
                                                                  4.
                                                                   = by pqrsonal          delivery on(date):
                                                                                                                                                   Code..fWl Pwcedra ff 4iZ26.465

                                        4*11;20M




                                                                                                                                                                                  EXHIBIT A
                                                                                                                                                                                   Page 14
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 3 of 47 Page ID #:16



                                                                                  Fi1.ED
                                                                        S1IPERIOR COIJRT OF.CALIFORNIA
                                                                          COUNIY OF SAN BERNARDINO
       1 SHAWN C. WESTRICK (SBN 235313)                                    SAN BERNARDlNO DISTRICT

         THE WESTRICIC LAW FIRM, P.C.                                            DEC 0 4 2017
       2 11075 Santa Monica Blvd., Ste. 125
         Los Angeles, Califomia 90025
       3 Telephone: (310) 746-5303                                      BY                        oPc~._
         Facsimile: (310) 943-3373                                              DANIEI.A TIRA O. DEPUTY
       4 E-mail: swestrick@westricklawfzrm.com

       5 Attorneys for Flaintiffs and Class Members

       6
                            SUPERIOR COURT FOR TH.E STATE OF CALIFORNIA
       7
                                      FOR THE COUiVTY OF SAN BERNARDINO
       8
          BRITTANY HAGMAN, and ALBERTO
       9                                                  CASE NO. Cl.ill`rcS 1 7 2'3°77 6
          GIANINI, individually, and on behalf of other
      10  members   of the general public sirnilariy      CLASS-ACTION COMPLAI~'`vT
         I situated
      11                                                  (1) Violation of CaIifomia Labor Code § 226.7
                         Plaintiff,                       &§ 512 (Failure to Provide Meal Breaks);
      12
                  vs.                                     (2) Violation of Califomia Labor Code § 226.7
      13
                                                          (Failure to Provide Rest Breaks);
      14 AMAZON FiJLFILLMENT SLRVICES,
            ITNC., a Delaware Corporation, GOLDEN         (3) Violation of California Labor Code § 223
      15 STATE FC LLC, a Delaware Corporation, and        (Failure to Pay Agreed Upon Wages);
            DOES i through 100, inclusive;
      16                 Defendants.                      (4) Violation of California Labor Code § 510
                                                          (Failure to Pay Overtime Pay);
      17-
      18                                                  (5) Violation of Califomia Labor Code
                                                          § 201-203 (Waiting Time Penalties);
      19
                                                          (6) Violation of California Labor Code § 226(a)
      20                                                  (Improper Wage Statements);
      21                                                  (7) VioIation of California Labor Code §§ 246
      22-                                                 & 247.5 (Failure to Maintain Accurate Sick
                                                          Tirne Pay Records);
      23
                                                          (8)Violation of California Business &
      24                                                  Professions Code § 17200, et seq.
      25                                                  Jury Trial Demanded
      26
      27
      28                                       CLASS ACTION COMPLAINY
                                               HAGMAN V. AMAZQN


                                                                                                      EXHIBIT A
                                                                                                       Page 15
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 4 of 47 Page ID #:17




       1           PLAINTIFFS BRITTANY HAGMAN and ALBERTO GIANINI (collectively,

       2 I"PLAINTIFFS"), individually and on behalf of all other members of the public similarly situated,

       3 I alleges as follows:

       4                                     JURISDICTION AND VENUE

       5           1)      This action is brought as a class action pursuant California Code of Civil

       6 Procedure § 382. The monetary dannages and restitution sought by PLAINTIFFS exceeds the

       7 minimal jurisdiction limits of the Superior Court and will be established according to proof at trial.

       8 The amount in controversy for the class representatives, including claims for compensatory

       9 damages and pro rata share of attorney fees, is more than $75,000.

      10           2)     This Court has jurisdiction over this action pursuant to the California Constitution,

      11 Article VI, §10, which grants the Superior Court "original jurisdiction in all causes except those

      12 given by stat-ute to other courts." The statutes under which this action is brought do not specify

      13 any other basis for jurisdiction.

      14          3)      This Court has jurisdiction over all DEFENDANTS due to their sufficient

      15 minimum contacts in Califomia as well as the fact that they have intentionally availed themselves

      16 of the California market so as to render the exercise of jurisdiction over them by the California

      17 courts consistent witb traditional notions of fair play and substantial justice.

      18          4)       Venue is proper in this Court because, upon information and belief, the named

      19 DEFENDANTS resides, transacts business, and has offices in this county and the acts and

      20 omissions alleged herein took place in this county.

      21                                             THE PARTIES
      22          5)       PLAINTIFF BRI.TTANY HAGMAN is a resident of San Bernardino County in

      23 I the State of Califomia.

      24          6)      PLAINTIFF ALBERTO GIANINI is a resident of San Bernardino County in the

      25 State of California.

      26          7)      DEFENDANT AMAZON FULFILLMENT SERVICES, INC. (hereinafter,

      27 "AMAZON") specializes in fulfilling orders sustained by Amazon.com, Inc. AMAZON

      28
                                                            -I -
                                                  CLASs ACTION COMPLAINT
                                                   HAGMAN V. AMAZON                                     EXHIBIT A
                                                                                                         Page 16
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 5 of 47 Page ID #:18




        1'. FULFILLMENT SERVICES, INC. was and is, upon information and belief, a DeIaware

        2', corporation doing business in California, and at all times hereinafter mentioned, an employer
        3.I whose employees are engaged throughout this county, the State of Californ.ia, or the various states
        4 I of the United States of America.
            I~
        5          8)     DEFENDANT GOLDEN STATE FC LLC ("GOLDEN STATE" and together with

        6 AMAZON, collectively, "DEFENDANTS") is a fulfillment center operating under AMAZON

        7 FULFILLMENT SERVICES, INC. GOLDEN STATE was and is, upon information and belief, a

        8 Delaware corporation doing business in Caiifornia, in the United States, and internation.ally.

        9          9)     Throughout the relevant Class Period, DEFENDANT AMAZON and GOLDEN
       10 STATE were the joint employer of PLAINTIFFS and the Class Members. DEFENDANT
       11 GOLDEN STATE allegedly ran the fulfillment centers while communication with the Proposed
      12 Class Members occurred through DEFENDANT AMAZON.
      13           10)    Because of the level of control exerted over PLAINTIFFS and the Class Members
      14 by DEFENDANTS AMAZON and GOLDEN STATE, PLAINTIFFS and the Class Members
      15 were jointly employed by DEFENDANTS.
      16           11)    PLAINTIFF is unaware of the trae names or capacities of the DEFENDANTS sued

      17 herein under the fictitious names DOES 1-100, but prays for leave to ame.nd and serve such
      18 fictitiously named DEFENDANTS pursuant to California Code of Civil Procedure § 474 once
      19 their names and capacities become known.
      20           12)    PLAINTIFF is informed and believes, and thereon alleges, that DOES 1-100 are

      21 the partners, agents, owners, shareholders, managers or employees of DEFENDANTS, and were
      22 ~ acting on behalf of DEFENDANTS.
      23           13)     PLAINTIFF is informed and believes, and thereon alleges, that each and all of the
      24 i acts and omissions alleged herein was performed by, or is attributable to, DEFENDANTS and
      25 DOES 1-100 (collectively "DEFENDANTS'% each acting as the agent for the other, with legal
      26 authority to act on the other's behalf. The acts of any and all DEFENDANTS were in accordance
      27 with, and represent the official policy of, DEFENDANTS.
      28
                                                           -2-
                                                 CLASs ACTTON COMPLAII3T
                                                  HAGMAN V. AMAZON                                    EXHIBIT A
                                                                                                       Page 17
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 6 of 47 Page ID #:19




       1          14)     At all times herein mentioned, DEFENDANTS, and each of them, ratified each

       2 and every act or omission complained of herein. At all times herein mentioned, DEFENDANTS,

       3 and each of them, aided and abetted the acts and omissions of each and all the other

       4 DEFENDANTS in proximately causing the damages herein alleged.

       5          15)     PLAlNT1FF is informed and believes, and thereon alleges, that each of said

       6 DEFENDANTS is in some manner intentionally, negligently or otherwise responsible for the acts,

       7 omissions, occurrenees and transactions alleged herein.

       8                                     CLASS ACT10N ALLEGATIONS

       9         16)      PL.AINTIFFS bring this action on their own behalf, as well as on. behalf of each

      10 and all other persons similarly situated, and thus seeks class certification under California Code of

      11 Civil Procedure § 382.

      12          17)     Ail claims alleged herein arise under California law for which PLATNTIFFS seek

      13 relief authorized by California law.

      14          18)     The proposed class is comprised of and defined as:

      15                  All non-exempt or hourly paid employees who have been employed

      16                  by DEFENDANTS iri the State of California in fulfillment centers,

      17                  within four years prior to the filing of this complaint until resolution

      18                  of this lawsuit.

      19          19)     There is a well-defined community of interest in the litigation and t.he class is easily

      20 ascertainable:

      21                  a.     Numerosity: The members ofthe subclasses are so numerous that joinder

      22                         of all members would be unfeasible and impractical. The membersbip of

      23                          the e.ntire class is unknown to PLAINTIFFS at this time, however, the class

      24                         is estimated to be greater than fifty (50) individuals and the identity of such
      25                         membership is readily ascertainable by inspection of DEFENDANTS'

      26                          employment records.

      27                  b.     Typicality: PLAiNTiFFS are qualified to, and will, fairly and adequately

      28
                                                            -3-
                                                  CLASs ACTION COMPLAINT
                                                  HAGMAN V. AMAZON                                      EXHIBIT A
                                                                                                         Page 18
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 7 of 47 Page ID #:20




       1                  protect the interests of each class member with whom they have a well-

       2                  defined community of interest, and PLAINTIFFS' claims (or defenses, if
       3                  any) are typical of all class members' as demonstrated herein.
       4             C.   Adeq,uacX: PLAINTIFFS are qualified to, and will, fairly and adequately,
       5                  protect the interests of each class member with whom they have a well-

       6                  defined community of interest aind typicality of claims, as demonstrated
       7                  herein. PLAINTIFFS acknowledge that they have an obligation to make
       8                  known to the Court any relationship, conflicts or differences with any class
       9                  member. PLAINTIFFS' attomeys and the proposed class counsel are
      10                  versed in the rules governing class action discovery, certification, and
      11                  settlement. PLAINTIFFS have incurred, and throughout the duration of this
      12                  action will continue to ineur, costs and attorneys' fees that have been, are,
      13                  and will be necessarily expended for the prosecution of this action for the
      14                  substantial benefit of each class member.
      15             d.   Superiority: The nature of this action makes the use of class action
      16                  adjudication superior to other methods. A class action will achieve
      17                  economies of time, effort and expense as compared to separate lawsuits, and
      18                  will avoid inconsistent outcomes because the same issues can be

      19                  adjudicated in the same manner and at the same time for the entire class.
      20             e.   Public Policv Considerations: Employers of this state violate employment
      21                  and laboi- laws every day. Current employees are often afraid to assert their
      22                  rights out of fear of direct or indirect retaliation. Former employees are
      23                  fearful of bringing actions because they believe their former employers may
      24                  damage their future endeavors through negative references and/or other

      25                  means. Class actions provide the class members who are not named in the
      26                  complaint with a type of anonymity that allows for the vindication of their

      27                  rights while protecting their privacy.
      28
                                                    -4-
                                          CLASs ACTION COMPLAINT
                                           HAGMAN V. AMAZON                                      EXHIBIT A
                                                                                                  Page 19
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 8 of 47 Page ID #:21




        1          20)     There are common questions of law and fact as to the subclasses that predominate

        2 over questions affecting only individual members, including but not limited to:

        3                 a.     Whether DEFENDANTS' failure to pay wages, without abatement or
        4                        reduction, in accordance with the California .Labor Code, was willful;

        5                 b.     Whether DEFENDANTS deprived PLA.INTIFFS and the other class

        6                        members of full meal periods or required PLAINTIFFS and the class

        7                        members to work during meal periods without compensation pursuant to

        8                        California Labor Code § 226.7;

        9                 C.     Whether DEFENDANTS deprived PLAINTIFFS and the other class

       10                        members of rest periods or required PLAINT.IFFS and the class members to
       11                        work during rest periods without compensation pursuant to California Labor

       12                        Code § 226.7;

       13                 d.     Whether DEFENDANTS complied with wage reporting as required by the

       14                        California Labor Code; including but not limited to § 226;

      15                  e.     Whether DEFENDANTS complied with wage reporting and nnaintained

       16                        sufficient records regarding sick pay;

       17                 f      Whether DEFENDANTS failure to pay all wages, including those wages

       18                        due to going through security lines after clockin.g out, were willful;

       19                 g.     Whether DEFENDANTS engaged in unfair business practices in violation

       20                        of California Business & Professions Code §§ 17200, et seq.; and

       21                 h.     The appropriate amount of damages, restitution, or monetary penalties

       22                        resulting from DEFENDANTS' violations of California law.

      23                                    GENERAL ALLEGATIONS

       24          21) At all times set forth, DEFENDANTS employed PLAINTIFF and other persons as

       25 non-exempt or hourly paid employees in its fulfillment centers.

      26           22) DEFENDANTS employed PLAINTIFF BRITTANY HAGMAN from on or about

       27 Apri12015 through January 21, 2017 at DEFENDANTS' San Bernardino, California business

       28
                                                           -5-
                                                 CLASs ACTION COMPLAINT
                                                 HAGMAN V. AMAZON                                     EXHIBIT A
                                                                                                       Page 20
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 9 of 47 Page ID #:22




        1 location.

       2           23) DEFENDANTS employed PLAINTIFF ALBERTO GIANINI from on or about
       3 October 2014 through August 2016 at DEFENDANTS' San Bernardino, Califomia business

       4 Ilocation.

       5           24) DEFENDANTS continue to employ non-exempt or hourly paid employees within
       6 I California.

       7           25) DEFENDANTS controlled the work done and the manner and means in which it

       8 was performed by PLAINTIFFS and the other Class Members.

       9           26) DEFENDANTS paid PLAINTIFFS and other class members a specified rate per
      10 i hour.

      11           27) DEFENDANTS did not compensate PLAILNTIFFS and other class members for the
      12 time spent in security lines at AMAZON's fulf llment warehouses, for which they were required

      13 to clock out prior to waiting in line.
           i


      14           28) DEFENDANTS required PLAINTIFFS and other class members to clock out prior
      15 to leaving on a lunch break, subjecting them to waiting time in security lines, without pay and

      16 subtracting from their meal break time.

      17           29) DEFENDANTS failed to allow PLAINTIFFS and other non-exempt elass members

      18 to take full rest breaks due to the large size of the fulfillment centers, leaving them unable to leave

      19 their work area and enjoy a full 10 minute uninterrupted rest break.

      20           30)    PLAINTIFFS are informed and believe, and thereon allege, that at all tiines herein
      21 mentioned, DEFENDANTS were advised by skilled lawyers and other professionals, e.mployees

      22 and advisors knowledgeable about Califomia labor and wage law and employment and personnel
      23 practices, and about the requirements of Califomia law.

      24           31) PLAINTIFFS are informed and believe, and thereon allege, that DEFENDANTS

      25 knew or should have known that PLAINTIFFS and other class members were entitled to receive
      26 atl meal breaks or payment of one hour of pay at PLAINTIFFS' and elass members' regular rate

      27 of pay when a meal break was missed.

      28
                                                           -6-
                                                  CLASs ACTION C0mPLAIIVT
                                                  HAGMAN V. .AMAZON                                    EXHIBIT A
                                                                                                        Page 21
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 10 of 47 Page ID #:23




        1           32) PLAINTIFFS are informed and believe, and thereon allege, that DEFENDANTS

        2 knew or should have known that PLAINTIFFS and other class members were entitled to receive

        3 I all rest breaks or payment of one hour of pay at PLAINTIFFS' and class members' regular rate of

        4 I pay when a rest break was missed.

        5           33) PLAINTIFFS are informed and believe, and thereon allege, that DEFENDANTS

        6 I knew or should have known that PLAINTIFFS and other class members were entitled to receive

        7 complete and accurate wage statements in accordance with California law.

        8           34) PLAINTIFFS are informed and believe, and thereon allege, that DEFENDANTS

        9 knew or should have known that DEFENDANTS were required to maintain accurate records of
       10 k sick pay leave.

       11           35)         PLAINTIFFS are informed and believe, and thereon allege, that at all times herein

       12 mentioned, DEFENDANTS knew or should have known that it had a duty to compensate

       13 PLAINTIFFS and other members of the class, and that DEFENDANTS had the financial ability to

       14 pay such compensation, but willfully, knowingly and intentionally failed to do so.

       15           36)         California Labor Code § 218 states that nothing in Article 1 of the Labor Code shall

       16 limit the right of any wage claimant to "sue directly ... for any wages or penalty due him [or her]

       17 I under this article."

       18           37)         Pursuant to California Labor Code section 2699.3, PLAINTIFFS provided written

       19 notice to the Labor and Workforce Development Agency; stating the specific alleged violations of

       20 the Labor Code and facts that support said allegations as well as informing the Labor and

       21 Workforce Development Agency that PLAINTIFFS would seek to recover all civil penalties

       22 pursuant to California Labor Code section 2698 et seq. Upon conclusion of the statutory mandated

       23 requirement, PLAINTIFFS will amend the complaint to add PAGA penalties where appropriate.
       24                                         FIRST CAUSE OF ACTION

       25                          Violation of California Labor Code §§ 226.7(a) and 512(a)

       26                                            (On behalf of the Class)

       27                 38)          PLAINTIFFS incorporate by reference and re-allege as if fully stated herein

       28
                                                                -7-
                                                       CLASs ACTION COMPLAINT
                                                       HAGMAN V. AMAZON                                    EXHIBIT A
                                                                                                            Page 22
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 11 of 47 Page ID #:24




        1! I the material allegations set out in paragraphs 1 through 37.

        2              39)         At all times herein set forth, the California lWC Order and California Labor

        3i Code §§ 226.7(a) and 512(a) were applicable to PLAINTIFFS and the other class members

        4 employed by DBFENDANTS.

        5              40)         At all times herein set forth, California Labor Code section 226.7(a)

        6 provided that no employer shall require an employee to work during any meal period mandated by

        7 an applicable order of the California lWC.

        8              41)         At all times herein set forth, California Labor Code section 512(a) provided

        9 that an employer may not require, cause or permit an employee to work for a period of more than

       10 five (5) hours per day without providing the employee with a meal period of not less than thirty

       11 (30) minutes, except that if the total work period per day of the employee is not more than six (6)

       12 hours, the meal period may be waived by mutual consent of both the employer and the employee.

       13              42)         At all times herein set forth, California Labor Code section 512(a) further

       14 provided that an employer may not require, cause or permit an employee to work for a period of

       15 more than ten (10) hours per day without providing the employee with a second meal period of not

       16 less than thirty (30) minutes, except that if the total of hours worked is no more than twelve (12)

       17 I hours, the second meal period may be waived by mutual consent of the employer and the

       18 employee only if the first meal period was not waived.

       19              43)         During the relevant time period, PLAINTIFFS and the other members of

       20 the class who were scheduled to work for a period of time no longer than six (6) hours, and who

       21 did not waive their legally-mandated meal periods by mutual consent, were required to work for

       22 periods longer than five (5) hours without a meal period of not less than thirty (30) minutes.

       23              44)         During the relevant time period, PLAINTIFFS and the other class members

       24 who were scheduled to work for a period of time in excess of six (6) hours were required to work

       25 for periods longer than five (5) hours without receiving a meal period of not less than thirty (30)

       26 I minutes.

       27              45)         During the relevant time period, P.LAINTIFFS and other members of the

       28
                                                             -8-
                                                   CLAss ACTJON COMPLA7NT
                                                    HAGMAN V. AMAZON                                   EXHIBIT A
                                                                                                        Page 23
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 12 of 47 Page ID #:25




        1 ( class who were scheduled to work in excess of ten (10) hours but .not longer than twelve (12)

        2 hours, and who did not waive their legally-mandated meal periods by mutual consent were

        3 required to wor.k in excess of ten (10) hours without receiving a second meal period of not l.ess

        4 I than thirty (30) minutes.

        5                46)          During the relevant time period, PLAINTIFFS and the other class members

        6 who were scheduled to work for a period of time in excess of twelve (12) hours were required to

        7 work for periods longer than ten (10) hours without receiving a meal period of not less than thirty

        8 (30) minutes.

        9                47)          During the relevant time period, DEFENDANT willfully required

       10 PLAINTIFFS and other members of the class to work during meal periods and failed to

       11 compensate PLAINTIFFS and members of the class for work performed during meal periods at

       12 their regular rate as required by California Labor Code section 226.7(b).

       13                48)
       14                49)          DEFENDANTS' conduct violates applicable IWC Wage Orders, and

       15 California Labor Code sections 226.7(a) and 512(a).

       16                50)          Upon completion of the mandated requirements, PLAINTIFFS will amend

       17 the complaint to seek PAGA penalties. Pursuant to California Labor Code section 226.7(b),

       18 PLAINTIFFS and other meinbers of the class are entitled to recover from DEFENDANTS all

       19 compensation for missed meal breaks that DEFENDANTS failed to pay.

       20                                       SECOND CAUSE OF ACTION
       21                               Violation of California Labor Code §§ 226.7(a)

       22                                            (On bebalf of the class)

       23          51)         PLAINTIFFS incorporate by reference and re-allege as if fully stated herein the

       24 material allegations set out in paragraphs 1 through 50.

       25          52) At all times herein set forth, the California 1WC Order and Califomia Labor Code §

       26 226.7(a) was applicable to PLAINTIFFS and other class members employed by DEFENDANTS.

       27          53)         At all times herein set forth, Califomia Labor Code § 226.7(a) provided that no

       28
                                                               -9-
                                                     CLASs ACTION COIvJPLAINT
                                                      HAGMAN V. AMAZON                                   EXHIBIT A
                                                                                                          Page 24
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 13 of 47 Page ID #:26




        1'. employer shall require an employee to work during any rest period mandated by an applicable

        21 order of the Califomia lWC.

                         54)   During the relevant time period, DEFENDANTS required PLAINTIFFS and other

            ( members of the class to work in excess of four (4) hours without providing a ten (10) minute rest

            I pe.riod.
                         55)   During the relevant time period, DEFENDANTS required PLAINTIFFS and other

            E members of the class to work an additional four (4) hours without providing a second ten (10)
        8 I m.inute rest period.

        9                56) During the relevant time period, DEFENDANTS willfully required PLAINTIFFS
       10 and other members of the class to work during rest periods and failed to compensate PLAINTIFFS

       11 and members of the class for work performed during rest periods.

       12                57) DEFENDANTS' conduct violates applicable IWC Wage Orders, and California

       13 Labor Code § 226.7(a).

       14                58) Pursuant to California Labor Code § 226.7(b), PLAINTIFFS and other members of
       15 the class are entitled to recover from DEFENDANTS one additional hour of pay at the employee's

       16 regalar hourly rate of compensation for each work day that the rest period was not provided.

       17                59) Upon completion of the mandated requirements, PLAINTIFFS will amend the

       18 complaint to seek PAGA penalties. Pursuant to California Labor Code § 2698 et seq.,

       19 PLAINTIFFS and other class members are entitled to recover all civil penalties owed to the Labor

       20 and Workforce Development Agency.

       21                                        THIRD CAUSE OF ACTION

       22                                  Violation of California Labor Code § 223

       23                                            (On behalf of the class)

       24                60)   PLAINTIFFS incorporate by reference and re-alleges as if fully stated herein the
       25 material allegations set out in paragraphs 1 through 59.

       26                61)   Califomia Labor Code § 218 authorizes employees to sue directly for any wages or

       27 penalties due to them under the California Labor Code.

       28
                                                              - 10-
                                                      CLASs ACTION COMPLAiNT
                                                      HAGMAN V. AMAZON                                   EXHIBIT A
                                                                                                          Page 25
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 14 of 47 Page ID #:27




        l          62)     Califomia Labor Code § 223 provides that it is unlawful for an employer to secretly

        2 pay a lower wage while purporting to pay the wage designated by contract.

        3          63) During the relevant time period PLAINTIFF and other class members contracted

        4 with DEFENDANTS to be paid an hourly wage for all time worked.

        5          64)     During the relevant time period, DEF.ENDANTS willfully failed to pay

        6 I PLAINTIFF and other class mernbers the contracted for hourly wage for the total number of hours

        7 I worked, including time spent in security lines.

        8          65)     During the relevant tilne period, DEFENDANTS willfully failed to pay

        9 PLAINTIFF and other class members the eontracted hourly wage for hours spent including, but

       10 not limited to, remaining in security.lines while clocked out.
       11          66) DEFEIVDANTS' willful failure to pay PLAINTIFF and other class members their

       12 contractual wages for all hours worked, as required by Cali.fornia lawa, violates the provision of
       13 the California Labor Code § 223, and is therefore unlawful.
       14          67) Pursuant to California Labor Code § 223, PLAINTIFFS and other class members

       15 are entitled to recover their unpaid hourly wages and all other statutory relief available.
       16          68) Upon completion of the mandated requirements, PLAINTIFFS will amend the

       17 complaint to seek PAGA penalties. Pursuant to California Labor Code § 2698 et seq.,
       18 PLAINTIFFS and other class members are entitled to recover all civil penalties owed to the Labor
       19 and Workforce Development Agency.
       20                                    FOURTH CAUSE OF ACTION

       21                               Violation of California Labor Code § 510

       22                                        (On behalf of the class)

       23          69)     PLAINTIFFS incorporate by reference and re-aIleges as if fully stated herein the

       24 material allegations set out in paragraphs I through 68.
       25          70)     California Labor Code section 1198 and the applicable Industrial Welfare

       26 Commission ("IWC'~ Wage Order provide that it is unlawful to employ persons without
       27 compensating them for overtime hours at a rate of pay either time-and-one-half or two-times that
       28
                                                              -ll -
                                                  CLASs ACTION COMPLAINT
                                                   ITAGMAN V. AMAZON                                    EXHIBIT A
                                                                                                         Page 26
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 15 of 47 Page ID #:28




        1 ( person's regular rate of pay, depending on the number of hours worked by the person on a daily or

        2 I weekly basis.

        3           71)     Specifical.ly, the applicable IWC Wage Order provides that DEFENDANTS are

        4 and were required to pay PLAINTIFFS and class members empioyed by DEFENDANTS, and

        5 working more than eight (8) hours in a day or more than forty (40) hours in a workweek, at the

        6 rate of time-and-one-half for all hours worked in excess of eight (8) hours in a day or more than

        7 forty (40) hours in a workweek.

        8           72) The applicable IWC Wage Order further provides that DEFENDANTS are and

        9 were xequired to pay PLAINTIFFS and class members employed by DEFENDANTS, and

       10 I working more than twelve (12) hours in a day, overtime compensation at a rate of two times their

       11 I regular rate of pay.

       12           73)     Califomia Labor Code section 510 codifies the right to overtime compensation at

       13 one-and-one-half times the regular hourly rate for hours worked in excess of eight (8) hours in a

       14 i day or forty (40) hours in a week or for the first eight (8) hours worked on the seventh day of

       15 work, and to overtime compensation at twice the regular hourly rate for hours worked in excess of

       16 twelve (12) hours in a day or in excess of eight (8) hours in a day on the seventh day of work.

       17          74)      During the relevant time period, PLAINTIFFS and class members consistently

       18 worked in excess of eight (8) hours in a day, in excess of twelve (12) hours in a day, and/or in

       19 excess of forty (40) hours in a week.

       20          75) During the relevant time period, PLAINTIFFS and other class members spent

       21 uncompensated time in security lines at DEFENDANTS' fulfillment centers which if it were

       22 compensated may have constituted overtime or double overtime.

       23          76) DEFENDANTS' failure to pay PLAINTIFFS and class members the unpaid

       24 balance of overtime compensation, as required by Califomia laws, violates the provisions of

       25 Califomia Labor Code sections 510 and 1198, and is therefore unlawful.

       26          77)      Pursuant to California Labor Code section 1194, PLAINTIFF and class members

       27 are entitled to recover their unpaid overtime compensation, as well as interest, costs and attorneys'

       28
                                                            -12-
                                                  CLASs ACTION COMPLAINT
                                                   HAGMAN V. AMAZON                                    EXHIBIT A
                                                                                                        Page 27
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 16 of 47 Page ID #:29




        1 I fees.

        2           78)     Upon completion of the mandated requirements, PLAINTIFFS will amend the

        3 complaint to seek PAGA penalties. Pursuant to California Labor Code § 2698 et seq.,

        4 PLAINTIFFS and other class members are entitled to recover all civil penalties owed to the Labor

        5 ' and Workforce Development Agency.

        6                                      FIFTH CAUSE OF ACTION

        7                            Violation of California Labor Code §§ 201-203

        8                                         (On behalf of the class)

        9           79)    PLAINTIFFS incorporate by reference and re-allege as if fully stated herein the

       10 material allegations set out in paragraphs 1 through 78.

       11           80)    At all times herein set forth, California Labor Code §§ 201 and 202 provided that if
       12 an employer discharges an employee, the wages earned and unpaid at the time of discharge are

       13 due and payable immediately, and that if an employee voluntarily leaves his or her employment,

       14 his or her wages shall become due and payable not later than seventy-two (72) hours thereafter,

       15 unless the employee has given seventy-two (72) hours previous notice of his or her intention to

       16 quit, in which case the employee is entitled to his or her wages at the time of quitting.

       17           81)    During the relevant time period, DEFENDANTS willfully failed to pay

       18 PLAINTIFFS and the other class members who are no Ionger employed by DEFENDANTS their

       19 wages, eamed and unpaid, either at the time of discharge, or within seventy-two (72) hours of their

       20 leaving DEFENDANTS' employ.

       21           82) DEFENDANTS' failure to pay PLAINT.IFFS and those class members who are no

       22 longer employed by DEFENDANTS their wages earned and unpaid at the time of discharge, or

       23 within seventy-two (72) hours of their leaving DEFENDANTS' employ, is in violation of

       24 California Labor Code §§ 201 and 202.

       25           83)    California Labor Code § 203 provides that if an employer willfully fails to pay

       26 wages owed, in accordance with Sections 201 and 202, then the wages of the employee shall

       27 I continue as a penalty from the due date, and at the same rate until paid or until an action is

       28
                                                             -13-
                                                   CLASs ACTION COMPLAINT
                                                    HAGMAN V. AMAZON                                     EXHIBIT A
                                                                                                          Page 28
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 17 of 47 Page ID #:30




        1 commenced; but the wages shal) not continue for more than thirty (30) days.
        2           84)     PLAINTIFFS and other class members are entitled to recover from

        3 DEFENDANTS the statutory penalty for each day they were not pa.id, at their regular hourly rate
        4 of pay, up to a thirty (30) day maximum, pursuant to California Labor Code § 203.
        5           85) Upon completion of the mandated requirements, PLAINTIFFS will amend the

        6 complaint to seek PAGA penalties. Pursuant to California Labor Code § 2698 et seq.,
        7 PLAINTIFFS and other class members are entitled to recover all civil penalties owed to the Labor
        8 and Workforce Development Agency.
        9                                     SIXTH CAUSE OF ACTION

       10                              Violation of California Labor Code § 226(a)

       ll                                         (On behalf of the class)

       12           86)     PLAINTIFFS incorporate by reference and re-alleges as if fully stated herein the

       13 material allegations set out in paragraphs 1 through 85.
       14           87)     DEFENDANTS have intentionally and willfiilly failed to provide employees with

       15 complete and accurate wage statements that include, among other things, the total number of
       16 actual hours worked during the pay period.
       17           88) As a result of DEFENDANTS' violation of Califomia Labor Code § 226(a),

       18 PLAINTIFFS and the other class members have suffered injury and damage to their statutorily-
       19 I protected rights.
       20          89)      Specifically, PLAINTIFFS and the other class members have been injured by

       21 DEFENDANTS' intentional violation of California Labor Code § 226(a) because they were
       22 denied both their legal right to receive, and their protected interest in receiving, accurate, itemized
       23 wage statements under California Labor Code § 226(a).
       24          90) PLAINTIFFS and the other class members are entitled to recover from

       25 DEFENDANTS the greater of their actual damages caused by DEFENDANTS' failure to comply
       26 with California Labor Code § 226(a), or an aggregate penalty not exceeding four thousand dollars
       27 I per employee.
       28
                                                            -14-
                                                   CLASs ACTTON COMPLATNT
                                                   HAGMAN V. AMAZON                                     EXHIBIT A
                                                                                                         Page 29
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 18 of 47 Page ID #:31




         li        91)     PLAINTIFFS and the other class members are also entitled to an award of costs
        2 1 and reasonable attorneys' fees pursuant to California Labor Code § 226(e).

        3          92) Upon completion of the mandated requirements, PLAINTIFFS will amend the
        4 complaint to seek PAGA penalties. Pursuant to California Labor Code § 2698 et seq.,

        5 PLAINTIFFS and other class members are entitled to recover all civil penalties owed to the Labor

        6 I and Workforce Development Agency.

        7                                  SEVENTH CAUSE OF ACTION
        8                         Violation of Caiifornia Labor Code § 246 and 247.5

        9                                        (On behalf of the class)
       10          93)     PLAINTIFFS incorporate by reference and re-alleges as if fully stated herein the
       11 material allegations set out in paragraphs I through 92.

       12          94)     California Labor Code § 246 requires that employers provide employees with paid
       13 sick days at a rate of not less than one hour per every thirty (30) hours worked. An employer can

       14 satisfy the accrual .requirements of this section by providing not less than twenty-four (24) hours

       15 of three days of paid sick leave that is available to the employee to use by the completion of his or

       16 her 120t' calendar day of employment.

       17          95)     California Labor Code § 247.5 requires that employers keep for at least three years
       18 records documenting the hours worked and paid sick days accrued and used by an employee.

       19 Employers must make those records available to an employee in the same manner as required in

       20 California Labor Code § 226. If an employer does not maintain adequate records pursuant to this

       21 section, it is presumed that the employee is entitled to the maximum number.of hours available

       22 unless the employer can show otherwise by clear and convincing evidence.

       23          96) Upon information and belief, PLAINTIFFS allege that DEFENDANTS failed to
       24 maintain adequate records as required by California law.

       25          97) Upon completion of the mandated requirements, PLAINTIFFS will amend the
       26 complaint to seek PAGA penalties. Pursuant to Califomia Labor Code § 2698 et seq.,

       27 PLAINTIFFS and other ctass members are entitled to recover all civil penalties owed to the Labor

       28
                                                           -i5-
                                                  CLASs AC770N COMPLAINT
                                                  HAGMAN V. AMAZON                                    EXHIBIT A
                                                                                                       Page 30
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 19 of 47 Page ID #:32




        1 and Workforce Development Agency.

        2                                   EIGHTH CAUSE OF ACTiON
        3                Violation of California Business & Professions Code §§ 17200, et seq.
        4                                        (On behalf of the ciass)

        5          98)     PLAINTIFFS incorporate by reference and re-alleges as if fully stated herein the

        6 material allegations set out in paragraphs 1 through 97.

        7          99)     DEFENDANTS' conduct, as alleged in this complai.nt, has been, and continues to

        8 be, unfair, unlawful, and harmful to the PLAINTIFFS, the other members of the class, and the

        9 general public. PLAINTIFFS seeks to enforce important rights affecting the public interest within

       10 the meaning of Code of Civil Procedure section 1021.5.
       11          100) DEFENDANTS' activities as alleged herein are violations of California law, and

       12 I constitute unlawful business acts and practices in violation of California Business & Professions
       13 I Code sections 17200, et seq.
          ~
       14         101) A violation of California Business & Professions Code sections 17200, et seq. may

       15 be predicated on the violation of any state or federal law. In the instant case, DEFENDANTS'
       16 policy and practice of requiring employees, including PLAINTIFFS and class members, to work
       17 through their meal and rest breaks without paying them proper compensation violates California
       18 Labor Code sections 226.7(a) and 512(a). Moreover, DEFENDANTS' policy and practice of
       19 intentionally failing to pay PLAINTIFFS and the other class members for time spent in security
       20 lines while offthe clock is unfair, unlawful., and hannful to PLAINTIFFS, the other class.
       21 members, and to the general public.
       22          l 02) PLAINTIFFS and the putative class members have been personally aggrieved by

       23 DEFENDANTS' unlawful business acts and practices alleged herein by the loss of money or
       24 property.
       25          103) Pursuant to California Business & Professions Code sections 17200, et seq.,

       26 PLAINTIFFS and the putative class members are entitled to restitution of the wages withheld and
       27 retained by DEFENDANTS during a period that commences four years prior to the filing of this
       28
                                                           -16-
                                                  CLASs Ac71oN COMPLAIN'r
                                                  HAGMAN V. AMAZON                                     EXHIBIT A
                                                                                                        Page 31
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 20 of 47 Page ID #:33




            complaint; a permanent injunction requiring DEFENDANTS to pay all outstanding wages due to

            class members; an award of attomeys' fees pursuant to California Code of Civil Procedure section

            1021.5 and other applicable laws; and an award of costs.

                                            REQUEST FOR JURY TRIAL

        5          PLAINTIFFS request a trial by jury.

        6                                       PRAYER FOR RELIEF
        7          PLAINTIFFS pray for relief and judgment against DEFENDANTS, as follows:
        8                                           Class Certification
        9          1.     That this action be certified as a class action;
       10          2.     That PLAINTIFFS be appointed as representatives of the class; and
       11          3.     That counsel for PLAINTIFFS be appointed as Class Counsel.
       12                                     As to the First Cause of Action
       13          4.     For all wages pursuant to California Labor Code section § 226.7(a);
       14          5.     For reasonable attorneys' fees and costs of suit incurred herein;
       15          6.     Upon completion of the mandated requirements, PLAINTIFFS will arnend the
       16 complaint to seek PAGA penalties. For any and all civil penalties owed to the Labor and

       17 Workforce Development Agency as pursuant to California Labor Code § 2698 et seq.; and

       18          7.     For such other and further relief as the Court may deem appropriate.

       19                                   As to the Second Cause of Action
       20          1.     For all wages pursuant to California Labor Code section § 226.7(a);

       21          2.     For reasonable attomeys' fees and costs of suit incurred herein;
       22          3.     Upon completion of the mandated requirenients, PLAINTIFFS will amend the
       23 complaint to seek PAGA penalties. For any and all civil penalties owed to the Labor and

       24 Workforce Development Agency as pursuant to California Labor Code § 2698 et seq.; and

       25                 For such other and further relief as the Court may deem appropriate.
       26                                    As to the Third Cause of Action

       27          I.     For all actual, consequential and incidental losses and damages, according to proof;
       28
                                                            -t7-
                                                  CLASs ACT10N COMPLAINT
                                                   HAGMAN V. AMAZON                                  EXHIBIT A
                                                                                                      Page 32
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 21 of 47 Page ID #:34




        1            2.   For statutory penalties pursuant to Califomia Labor Code § 226(a);

        2            3.   For reasonable attorneys' fees and costs of suit incurred herein pursuant to

        3 Califomia Labor Code § 226(a);

        4            4.   Upon completion of the mandated requirements, PLAINTIFFS will amend the

        5 complaint to seek PAGA penalties. For any and all civil penalties owed to the Labor and

        6: Workforce Development Agency as pursuant to California Labor Code § 2698 et seq.; and

        71           5.   For such other and further relief as t.he Court may deem equitable and appropriate.

        8                                    As to the Third Cause of Action

        9            1.   For all actual, consequential, and incidental losses and damages, according to

       10 I proof;

       11            2.   For general unpaid wages pursuant to California Labor Code § 223 and such

       12 general and special damages as may be appropriate;

       13            3.   For pre judgment interest on any unpaid wages;
       14            4.   For any and all other statutory relief available; and,
       15            5.   Upon completion of the mandated requirements, PLAINTIFFS will amend the

       16 complaint to seek PAGA penalties. For any civil penalties owed to the Labor and Workforce

       17 Development Agency as pursuant to Califomia Labor Code § 2698 et seq.

       18            6.   For such other and further relief as the Court may deem equitable and appropriate.
       19                                   As to the Fourth Cause of Action
       20            1.   For all actual, consequential and incidental losses and damages, according to proof;
       21            2.   For wages pursuant to California Labor Code § 510;
       22            3.   For reasonable attorneys' fees and costs of suit incurred herein;

       23            4.   Upon completion of the mandated requirements, PLAINTIFFS will amend the

       24 complaint to seek PAGA penalties. For any and all civil penalties owed to the Labor and

       25 Workforce Development Agency as pursuant to California Labor Code § 2698 et seq.; and

       26            5.   For such other and fiuther relief as the Court may deem appropriate.
       27                                    As to the Fifth Cause of Action

       28
                                                           -18-
                                                  CLASS ACTION COMPLAINT
                                                   HAGMAN V. AMAZON                                      EXHIBIT A
                                                                                                          Page 33
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 22 of 47 Page ID #:35




        1          1.       For all penalties pursuant to California Labor Code § 203;

        2          2.       For reasonable attorneys' fees and for costs of suit incurred herein;
        3          3.       Upon completion of the mandated requirements, PLAINTIFFS will amend the

        4 complaint to seek PAGA penalties. For any and all civil penalties owed to the Labor and

        5 Workforce Development Agency as pursuant to Califomia Labor Code § 2698 et seq.; and

        6          4.       For such other and further relief as the Court may deem equitable and appropriate.
        7                                      As to the Sixth Cause of Action
        8               1. For all actual, consequential and incidental losses and damages, aceording to proof;
        9               2. For statutory penalties pursuant to California Labor Code § 226(e);
       10               3. For reasonable attorneys' fees and costs of suit incun ed herein pursuant to
       11 ( California Labor Code § 226(e);

       12               4. Upon complet.ion of the mandated requirements, PLAINTIFFS will amend the
       13 complaint to seek PAGA penalties. For any and all civil penalties owed to the Labor and

       14 Workforce Development Agency as pursuant to Califo.rnia Labor Code § 2698 et seq.; and

       15               5. For such other and further relief as the Court may deem equitable and appropriate.

       16                                    As to the Seventh Cause of Action
       17         1.        Upon completion of the mandated requirements, PLAINTIFFS will amend the

       18 complaint to seek PAGA penalties. For any and all civil penalties owed to the Labor and

       19 Wor.kforce Development Agency as pursuant to California Labor Code § 2698 et seq.; and

       20               2. For such other and further relief as the Court may deem equitable and appropriate.
       21                                     As to the Eighth Cause of Action

       22                   For restitution of unpaid wages to all class members and prejudgment interest from
       23 the day such amounts were due and payable;

       24         2.        For the appointment of a receiver to receive, manage and distribute any and all
       25 funds disgorged from DEFENDANTS and determined to have been wrongfully acquired by

       26 DEFENDANTS as a result of violations of California Business & Professions Code sections

       27 17200 et seq.;

       28
                                                            -.19-
                                                   CLASS ACTION COMPLAIN'r
                                                    HAGMAN V. AMAZON                                      EXHIBIT A
                                                                                                           Page 34
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 23 of 47 Page ID #:36




                  3.     For reasonable attorneys' fees and costs of suit incurred herein pursuant to
        2 Califomia Code of Civil Procedure section 1021.5;
        3         4.     For injunctive relief to ensure compliance with this section, pursuant to California
        4 Business & Professions Code sections 17200, et seq.; and
        5         5.     For such other and further relief as the Court may deem equitable and appropriate.
        6   DATE.D: November 29, 2017             Respectfully submitted
        7                                         THE WESTRICK LAW FIRM, P.C.
        8
        9                                         By/s/ Shawn C. Westrick
       10                                           SHAWN C. WESTRICK
                                                    Attorneys for Plaintiffs/Class Mernbers
       11
       12
       13
       14
       15
       16
       17
       18
       19
       20
       21
       22
       23
       24
       25
       26
       27
       28
                                                         -20-
                                                CLASs ACTION COMPLAINT
                                                HAGMAN V. AMAZON                                     EXHIBIT A
                                                                                                      Page 35
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 24 of 47 Page ID #:37



                 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
    SAN BERNARDINO JUSTICE CENTER
    247 W. 3RD ST
    SAN BERNARDINO, CA 92415-0210
                                                 CASE NO: CIVDS1723776
    http://www.sb-court.org
    ------- APPEARANCE IS MANDATORY - Unless Case is Finalized --------
    Appearance Date: 02/05/18         Time: 8:30       Dept: S26
    IN RE: **COMPLEX/CLASSACTION** HAGMAN -V- AMAZON, ET AL
                      NOTICE OF CASE ASSIGNMENT FOR ALL PURPOSES
                         NOTICE OF CASE MANAGEMENT CONFERENCE
    PLEASE TAKE NOTICE, that the above-entitled case has been set for a
    Case Management Conference on 02/05/18 at 8:30
    in Department S26. You must appear at this hearing or your case may
    be dismissed and monetary penalties may be imposed.
    THIS CASE HAS BEEN ASSIGNED TO JUDGE DAVID COHN IN
    DEPARTMENT S26 FOR ALL PURPOSES.
    Your Joint Statement must be filed, directly in the Complex Liti.gation
    Department, five (5) calendar days prior to the hearing.
    TO THE PARTY SERVED: The setting of this date DOES NOT increase the
    time you have to respond to the petition. The time for response is
    clearly stated on the Summons.
    Please see the Guidelines for the Complex Litigation Program for
    further information. The guidela.nes may be found at the Court Website:
    http://www.sb-court.org
          A COPY OF THIS NOTICE MUST BE SERVED ON THE RESPONDENT
                         Nancy Eberhardt, Interim Court Executive Officer
    Date: 12/04/17                                   By: DANIELA TIRADO
    ----------------------------------------------------------------------
                            CERTIFICATE OF SERVICE
    I am a Deputy C1erk of the Superior Court for the County of San
    Bernardino at the above listed address. I am not a party to this
    action and on the date and place shown below, I served a copy of the
    above listed notice by:
    () Enclosed in an envelope mailed to the interested party addressed
    above, for collection and mailing this date, following ordinary
    business practice.
    () Enclosed in a sealed envelope, first class postage prepaid in the
    U.S. mail at the location shown above, mailed to the interested party
    and addressed as shown above, or as shown on the attached listing.
    ~) A copy of this notice was given to the filing party at the
    cotlnter..
    () A copy of this notice was placed in the bin located at this office
    and identified as the location for the above law firm's collection of
    file stamped documents.
    DATE OF MAILING: 12/04/17
    I declare under penalty of perjury that the foregoing is true and
    correct. Executed on 12/04/17 at San Bernardino, CA By: DANIELA TIRADO
                                                                           EXHIBIT A
                                                                            Page 36
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 25 of 47 Page ID #:38


                         COUNTY OF SAN BERNARDINO SUPERIOR COURT
                              SAN BERNARZINO JUSTICE CENTER
                               247 W. 3RD ST
                              SAN BERNARDINO, CA 92415-0210




                                                **NOTICE**
                                                CASE NO: CIVDS1723776
    THE WESTRICK LAW FIRM, PC
    11075 SANTA MONICA BLVD.
    STE 125
    LOS ANGELES CA 90025
    TITLE OF CASE: **COMPLEX/CLASSACTION** HAGMAN -V- AMAZON, ET AL
    MISSING DOCUMENTS}
    CERTIFICATE OF ASSIGNMENT WAS NOT SUBMITTED AT THE TIME OF INITIAL
    FILING. PLEASE PROVIDE THE COURT WITH A CERTIFICATE OF ASSIGNMENT.




    DATE: 12/04/17     Nancy Eberhardt, Court Executive Officer
                                                       BY: DANIELA TIRADO
    ----------------------------------------------------------------------

                          CERTIFICATE OF SERVICE BY MAIL
    I am a Deputy Clerk of the Superior Court for the County of San
    Bernardino at the above la.sted address.2 am not a party to this action
    and on the date and place shown below,I served a copy of the above
    listed notice by:
    (} Enclosed in an envelope mailed to the interested party address
         above, for collection and mailing this date, following ordinary
         business practice.
    () Enclosed in a sealed envelope, first class postage prepaid in the
         U.S. mail at the location shown above,mailed to the interested
         party and addressed as shown above, or as showri on the attached
         listing.
        W1~oti~
    Executed on 12/04/17, at San Bernardino, California.
                                                     By: DANIELA TIRADO
                                                            Deputy C1erk
                                                                           EXHIBIT A
                                                                            Page 37
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 26 of 47 Page ID #:39




              Superior Court of CaZifornia-Count-y of San Bernardino

                       .A.LTERIVATzVE UiSplUTE RESOLUTZON
   What is Alternative Dispute Resolution?
  There are different processes avaitabie to settle tawsuits that do not require a triat. In AIternative Dispute
  Resolutions (ADR) a trained, impartial person decides.disputes or helps ttze parties reach resolution§ of
  their disputes for themselves. These persons are neu[rals, who are normally chosen by the disputing
  parties or the court.

  Advantages of ADR
      •  Often faster than going to trial.
      •  Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
      •  May permit more participation, allowing the parties to have more control over the outcome.
      •  AIlows for flexibility in choice of ADR processes and resolut€on ofthe dispute.
      •  Fosters cooperation by allowing parties to work together with the neutrai to resolve the dispute and
         mutually agree to a remedy.
     • ADR can be used, even after a lawsuit, if the result is appealed.
  Disadvantages of ADR - ADR may not be suitable for every dispute.
     • If ADR is binding, the parties normaily give up most court protections, including a decision by a judge or
        jury under formal rules of evidence and procedure, and review for legal error if by an appellate court.
     • ADR may not be effective if it takes place before the parties have sufficient information to resolve the
        dispute.
     • The neutral may charge a fee for his or her services.
     • If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional costs
        oftriai, such as attorney's fees and expert fees.

 The Most Common Types of ADR: Mediation and Arbitration

                                                       Mediation
 In mediation, the mediator (a neutra!) assists the parties in reaching a mutualty acceptable resolution of their
 dispute.
 • Un€ike lawsuits or some other types of ADR, the parties, rather the mediator decide how the dispute is to be
     resolved.
 • ADR is a cooperative process in which the parties work together toward a resolutfon that tries to meet everyone's
     interests, instead of working against each other.
 • ADR can be particularly effective when parties have a continuing relationsh€p, such as neighbors or businesses.
 • ADR can be also very effective where personal feelings are getting in the way of a resolution.

                                                     Arbitration
 1n arbitration, the arbitrator (a neutral) reviews evidence, hears arguments, and makes a decision (aivarci) to resolve
 the dispute. This is very different from mediation whereby the mediator helps the parties reach their own resotution.
 A.rbitration may be more informal, quicker, and (ess expensive than a trial.



                                                                                                                           EXHIBIT A
                                                                                                                            Page 38
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 27 of 47 Page ID #:40




   There are two types of arbitration in California:
   • Private arbitration by agreement of the parties involved in the dispute. This type takes place outside of the
        court and normalty is biuding. In niost cases "binding" means that the arbitrator's decision (award) is final
        and there wilt not be a trial or an opportunity to appeal the decision.
   • ,Yudicial arbitrsttion ordered by the court. Tlie arbitrator's decision is not binding uuless tlte parties agree to
        be bound. A party who does not like the award inay file a request for triat with the court within a specified
       .time. However, if that party does not receive a rnore favorabte award at triat, the.party may have to pay a
       penalty.

                                                   More Xnformation

  There are several other types of ADR. Some of these .include conciliation, settlement conference, fact
  finding, lnini-trial, Victim Offender Reconciliation Pragram, and summary trial jury. Sometimes parties
  wi11 try a combination of ADR types. The important thing is to try to fnd the type of ADR that is most
  likely to resolve your particular dispute.

  The selection of a neutral is also an important decision. There is no legal requirement that the neutral be
  ficensed or hoEd any particular certificate. However, some programs have established qualification
  requirements for neutrals.

  Agreements reached t(irough ADR normaIIy are put into writing and, if the parties wish, may becorne
  bind'ing contracts that can be enforced by the court.

  ADR can be used to resolve disputes instead of filing a lawsuit. Bven after a lawsuit has been filed, the
  court can refer the dispute to a neutral. ADR has also been used to resolve disputes even after trial, when
  the result is appealed.

  You may wish to seek the advice of an attorney as to your legal rights and matters relating to the dispute
  before pursuing ADR.

  To loeate a dispute resolution program or neutrat in your community:
  • Contact the Califor.nia Department of Consumer Affairs (www.dca.ca.gov) Consumer lnformation Center
      toll free at 800-952-52I0, or;
 • Contact the local bar association, or;
 • Looic 4n a phone directosy undee mediat'son or arbitration services.

 The following alternate dispute resolution service providers are under contract with the County of San
 Bernardino to provide services for the Ifsted types of-matters under referral by the Court at no or lotiv cost.
 The contractors may also provide additional mediation services outside of thefr eontracts with the County.
                                  C1vi1, famFly 1mn (exce t custody and support)
                                   Gandlorz~tenant, unlm ul detainer s, snra!! clainrs:
                              Program Director: Lynne Anderson, Executive Director
                                               City Center Building
                                     Inland l+air Housing & Mediation Board
                                       10681 Foothill I3oulevard, Suite 10I
                                          Rancho Cucamonga, CA 91730
                                          909-984-2254 or 800-321-0911
                                                   Faa:909-460-0274
                                                    fvrpir.iranedbd.con:
                                                             iez




                                                                                                                           EXHIBIT A
                                                                                                                            Page 39
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 28 of 47 Page ID #:41

                GUIDELINES FOR THE COMPLEX LITIGATIQN P.ROGRAM                                        12/04/17

                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                            COUNTY OF SAN BERNARDINO
                                JUDGE DAVID COHN
                                 DEPARTMENT S-26


THE SAN BERNARDINO COUNTY COMPLEX LITIGATION PROGRAM
    Department S-26 is the Complex Litigation Department for the Superior Court of the State of
California, County of San Bernardino. lt is located at the San Bernardino Justice Center, 247 West
Third Street, San Bernardino, CA 92415-0210, on the eighth floor. Judge David Cohn presides in the
Complex Litigation Department. The telephone number for the Complex Litigation Department's
Judicial Assistant is 909-521-3519.

DEFINITION OF COMPLEX LITIGATION
    As defined by California Rules of Court, rule 3.400(a), a complex case is one that requires
exceptional judicial management to avoid placing unnecessary burdens on the court or the litigants
and to expedite the case, keep costs reasonable, and promote effective decision making by the court,
the parties, and counsel.
Complex cases typically have one or more of the following features:
          • A large number of separately represented parties.
          • Extensive motion practice raising difficult or novel issues that will be time-consuming to
              resolve.
          • A substantial amount of documentary evidence.
          • A large number of witnesses.
          • Coordination with related actions pending in one or more courts in other counties or
              states or in a federal court.
          • Substantial post-,judgment judicial supervision.

    Complex cases. may include, but are not necessarily limited to, the following types of cases:
          • Antitrust and trade regulation claims.
          • Construction defect claims involving many parties or structures.
          • Securities claims or investment iosses involving many parties.
          • Environmental or toxic tort claims involving many parties.
          • Mass torts.
          • Class actions.
          • Claims brought under the Private Attorney General Act (PAGA).
          • Insurance claims arising out of the types of claims listed above.
          • Judicial Council Coordinated Proceedings (JCCP).
          • Cases involving complex financial, scientific, or technological issues.
                                                                                     Revised August 10, 2016 - CsH




                                                                                                             EXHIBIT A
                                                                                                              Page 40
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 29 of 47 Page ID #:42

                   GUIDELINES FOR THE COMPLEX LITIGATION PROGR.AM

                       SUPERIOR COURT OF TIIE STATE OF CALIFORNIA
                              COUNTY OF SAN BERNARDINO
                                   JUDGE DAVID COHN
                                    DEPARTMENT S-26



         CASES ASSIGNED TO THE COMPLEX LITIGATION DEPARTMENT

              A. Cases Designated by a Plaintiff as Complex or Provisionally Complex
          Commencing July I, 2016, all cases designated by a plaintiffas complex or provisionally
     complex on the Civil Case Cover Sheet (Judicial Council Form CM-100) will be assigned
     initially to the Complex Litigation Department. At the time the complaint is filed, the Court
     Clerk will schedule an Initial Case Management Conference as provided by California Rules of
     Court, rule 3.750, for a date no later than seventy-five days after the filing of the complaint.
          A plaintiff designating the case as complex or provisionally complex must file and serve a
     Notice of the Initial Case Management Conference and a copy of these guidelines, along with
     service of the summons and complaint, no later than thirty days before the conference, and
     must file the Notice and Proof of Service with the court.
          A defendant who agrees that the case is complex or provisionalIy complex may indicate a
     "Joinder" on the Civil Case Cover Sheet (Form CM-100).
          A defendant who disagrees that the case is complex or provisionally complex may raise the
     issue with the court at the Initial Case Management Conference.

             B. Cases Counter-Designated By a Defendant as Complex or Provisionally
                 Complex
         Commencing July i, 2016, all cases which were not designated by a plaintiff as complex or
     provisionally complex, but which are eounter-designated by a defendant (or cross-defendant)
     as complex or provisionally complex on the Cfvil Crxse Cover Sheei (Judicial Council Form
     CM-I00), will be assigned or re-assigned to the Complex Litigation Department. At the time
     the counter-designation is filed, the Court Clerk will schedule an Initial Case Management
     Conference as provided by California Rules of Court, rule 3.750, for a date no later than
     forty-five days after the filing of the counter-designation.
         A defendant or cross-defendant who files a complex counter-designation must serve a
     Notice of the Initial Case Management Conference and a eopy of these guidelines no later
     than thirty days before the conference, and must file the Notice and Proof of Service with the
     court.
         A plaintiff or other party who disagrees with the counter-designation may raise the issue
     with the court at the Initial Case Management Conference.



     2                                                                            Revised August 10, 2016



                                                                                                        EXHIBIT A
                                                                                                         Page 41
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 30 of 47 Page ID #:43

                    GUIDELINES FOR TII.E COMPLEX LITIGATION PROGRAM

                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                 COUNTY OF SAN BERNA.RDINO
                                     JUDGE DAVID COHN
                                      DEPARTMENT S-26


             C. Other Cases Assigned to the Complex Litigation Department
     Commencing July 1, 2016, whether or not the parties designate the case as complex or
  provisionally complex, the following cases will be initially assigned to the Complex Litigation
  Department:
                    All Construction Defect Cases.
                    All Class Actions.
                 • All Cases Involving Private Attorney General Act (PAGA) Claims.
                    All Judicial Council Coordinated Proceedings (JCCP).

     At the time the complaint is filed, the Court Clerk will schedule an Initial Case Management
  Conference as provided by California Rules of Court, rule 3.750, for a date no later than
  seventy-five days after the filing of the complaint.
     The plaintiff must f le and serve a Notice of the Initial Case Management Conference and a
  copy of these guidelines, along with service of the summons and complaint, no later than thirty
  days before the conference, and must file the Notice and Proof of Service with the court.

  REFERRAL TO THE COMPLEX LITIGATION DEPARTMENT BY OTHER DEPARTMENTS
      Commencing July 1, 2016, a judge who is assigned to a case may, but is not required to,
  refer the case to the Complex Litigation Department to be considered for treatment as a
  complex case if (1) the case was previously designated by a party as complex or provisionally
  complex, or (2) the referring judge deems the case to involve issues of considerable legal,
  evidentiary, or logistical complexity, such that the case would be best served by assignment to
  the Complex Litigation Department. Such a referral is not a re-assignment, but is a referral for
  consideration.
      In any case referred by another judge to the Complex Litigation Department, the Complex
  Litigation Department will schedule an Initial Case Management Conference within thirty days
  and will provide notice to all parties along with a copy of these guidelines. If the case is
  determined by the Complex Litigation Department to be appropriate for treatment as a complex
  case, the case will be re-assigned to the Complex Litigation Department at that time. If the
  case is determined by the Complex Litigation Departnient not to be complex, it wi11 be returned
  to the referring judge.

      The Civtl Case CoverSheet (Judieial Council Form CM-100) may not reflect the presence of a PAGA claim.
  PAGA claims erroneously assigned to non-coinplex departments are subject to re-assignment by the assigned
  judge to the Complcx Liligation Department.

       Petitions for administrative writs of mandamus under Code of Civil Procedure section1094 are also assigned
  to the Coinplex Litigation Department, but are not subject to these Guidelines and procedures.
  3                                                                                                Revised August 10, 2016


                                                                                                                      EXHIBIT A
                                                                                                                       Page 42
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 31 of 47 Page ID #:44


                   GUIDELINES FOR THE COMPLEX LITIGATION PROGRAM

                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                COUNTY OF SAN BERfiIARDINO
                                    JUDGE DAVID COHN
                                     DEPARTMENT S-26

   STAY OF .DISCOVERY PENDING THE INITIAL CASE 1VIANAGEMENT CONFERENCE
      Commencing July t, 2016, for cases that are assigned to the Complex Litigation
   Department, discovery is automaticaliy stayed pending the Initial Case Management
   Conference, or until further order of the court. Discovery is not automaticaliy stayed,
   however, for cases that were initially assigned to other departments and are referred to the
   Complex Litigation Department for consideration, unless the refenring judge stays discovery
   pending determination by the Complex Litigation whether the case should be treated as
   complex_

   OBLIGATION TO CONFER BEFORE THE INITIAL CASE MANAGEMENT CONFERENCE
      Prior to the Initial Case Management Conference, all parties are required to meet and
   confer to discuss the items specified in California Rules of Court, rule 3.750(b), and they are
   required to prepare a Joint Statement specifying the following:
               Whether additional parties are likely to be added, and a proposed date by which any
               such parties must be served.
               Bach party's position whether the case shouid or should not be treated as a
               complex.
               Whether there are applicable arbitration agreements.
               Whether there is related litigation pending in state or federal court.
               A description of the major legal and factual issues involved in the case.
               Any discovery or trial preparation procedures on which the parties agree. The
               parties should address what discovery will be required, whether discovery should be
               conducted in phases or otherwise limited, and whether the parties agree to
               electronic service and an electronic document depository and, if so, their preferred
               web-based electronic serviee provider.
               An estimate of the time needed to conduct diseovery and to prepare for triai.
           • The parties' views on an appropriate mechanism for Alternative Dispute Resolution.
               Any other matters on which the parties request a court ruling.

   The Joint Statement is to be filed directly in the Complex Litigation Department no later than five
   calendar days before the conference. This requirement of a Joint Statement is not satisfied by using
   Judicial Council Form CM-110, pursuant to California Rules of Court, rule 3.725(a), or by parties filing
   individual statements. Failure to participate meaningfully in the "meet and confer" process or failure to
   submit a Joint Statement may result in the imposition of monetary or other sanctions.


                                                                                              Revised August 10, 2016



                                                                                                                 EXHIBIT A
                                                                                                                  Page 43
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 32 of 47 Page ID #:45

                   GUIDELINES FOR THE COMPLEX LITIGATION PROGRAM

                        SUPERIOR COURT OF THE STATE OF CALIF
                                                           FORNIA
                                COUNTY OF SAN BERNARDINO
                                    JUDGE DAVID COFIN
                                     DEPARTMENT S-26


 THE INITIAL CASE MANAGEMENT CONFERENCE
     At the Initial Case Management Conference, the court will determine whether the action is
 a complex case, as required by California Rules of Court, rule 3.403. If the court determines
 the case is complex, the court will issue further management-related orders at that time. If the
 court determines the case is not complex, the case may be retained by the judge in
 Department S-26, but not treated as a complex case, or it may be reassigned to a different
 department; if the case was referred by another judge and the case is found to be
 inappropriate for treatment as a complex case, the case will be returned to the referring judge.
     At the Initial Case Management Conference, the court and counsel will address the
 subjects listed in California Rules of Court, rule 3.750(b), and all issues presented by the Joint
 Statement.
     Once a case is deemed complex, the function of the Tnitial Case Management Conference
 and all subsequent Case Management Conferences is to faeilitate discovery, motion practice,
 and trial preparation, and to discuss appropriate mechanisms for settlement negotiations.
     Lead counsel should attend the Initial Case Management Conference. Counsel with
 secondary responsibility for the case may attend in lieu of lead counsel, but only if he or she is
 fully informed about the case and has full authority to proceed on all issues to be addressed at
 the conference. "Special Appearance" counsel (lawyers who are not the attorneys of record)
 are not allowed. With the exception of minor parties (e.g., subcontractors with a limited scope
 of work in large construction defect cases), telephonic appearances are discouraged.
 California Rule of Court, rule 3.670, subdivision (f)(2), authorizes the court to require
 attendance at hearings in person "if the court determines on a hearing-by-hearing basis that a
 personal appearance would materially assist in the determination of the proceedings or in the
 effective management or resolution of the particular case." To assist the court in making this
 "hearing-by-hearing" determination, any party who intends to attend the Initial Case
 Management Conference telephonicaily inust notify the court of such intention no later than
 five court days before the hearing. The court will make a determination at that time whether or
 not personal attendance is required.

 CASE MANAGEMENT ORDERS
     In most cases, the court will issue formal, written case management orders. TypicalIy,
 complex construction defect cases will proceed pursuant to such an order. Other cases
 involving numerous parties or unusual logistical complexity will likely be appropriate for such a
 written order as well. The need for a written case management order will be discussed at the
 Initial Case Management Conference or at later times as the need arises. The parties will
 prepare such orders as directed by the court.
  5                                                                                      Revised August 10, 2016


                                                                                                           EXHIBIT A
                                                                                                            Page 44
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 33 of 47 Page ID #:46


                   GUIDELINES FOR THE COMPLEX .LITIGATION PROGRAM

                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                COUNTY OF SAN BERNARDINO
                                    JUDGE DAVID COHN
                                     DEPARTMENT S-26

  FURTHER CASE MANAGEMENT CONFERENCES
      After the Initiai Case Management Conference, the court will schedule further case
  management conferences as necessary and appropriate on a case-by-case basis. As issues
  arise during discovery and preparation for trial, the parties may also request additional case
  management conferences by making arrangements through the Judicial Assistant assigned to
  the Complex Litigation Department (909-521-3519). The court will schedule such additional
  case management conferences at the earliest opportunity.
      As with the Initial Case Management Conference, lead counsel should attend all case
  management conferences. Counsel with secondary responsibility for the case may attend in
  lieu of lead counsel, but only if he or she is fully informed about the case and has full authority
  to proceed on all issues to be addressed. "Special Appearance" counsel (Iawyers who are not
  the attorneys of record) are not allowed. With the exception of minor parties (e.g.,
  subcontractors with a limited scope of work in large construction defect cases), telephonic
  appearances are discouraged. California Rule of Court, rule 3.670, subdivision (f)(2),
  authori2es the court to require attendance at hearings in person "if the court determines on a
  hearing-by-hearing basis that a personal appearance would materially assist in the
  determination of the proceedings or in the effective management or resolution of the particular
  case." To assist the court in making this "hearing-by-hearing" determination, any party who
  intends to attend the Initial Case Management Conference telephonically must notify the court
  of such intention no later than five court days before the hearing, The court will make a
  determination at that time whether or not personal attendance is required.

  VOLUNTARY SETTLEMENT CONFERENCES
      If all parties agree, the court is available to conduct settlement conferences. Requests for
  settlement conferences may be made at any Case Management Conference or hearing, or by
  telephoning the Judicial Assistant for the Complex Litigation Department (909-521-3519).

  MANDATORY SETTLEMENT CONFERENCES
       In appropriate ca.ses, the court may order mandatory settlement conferences. Parties with
  full settlement authority, including insurance adjustors with full settlement authority, must
  attend all mandatory settlement conferences in person. Availability by telephone is not
  allowed at mandatory settlement conferences.



  6                                                                                       Revised August 10, 2016




                                                                                                            EXHIBIT A
                                                                                                             Page 45
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 34 of 47 Page ID #:47


                      GUIDELINES FOR T.HE COMPLEX LITIGATION PROGRAM

                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                  COUNTY OF SAN BERNARDINO
                                      JUDGE DAVID COHN
                                       DEPARTMENT S-26

  MANAGEMENT OF CLASS ACTIONS
     In class actions and putative class actions that are deemed complex, the Initial Case
  Management Conference will function as the Case Conference required by California Ruies of
  Court, rules 3.762 and 3.763.

 OBLIGATION TO MEET AND CONFER REGARDING MOTIONS
      In addition to any other requirement to "meet and confer" imposed by statute or Rule of
 Court in connection with motions, all counsel and unrepresented parties are required to "meet
 and confer" in a good faith attempt to eliminate the necessity for a hearing on a pending
 motion, or to resolve or narrow some of the issues. The moving party must arrange for the
 conference, which can be conducted in person or by telephone, to be held no later than four
 calendar days before the hearing. No later than two calendar days before the hearing, the
 moving party is required to file a notice in the Complex Litigation Department, with service on
 all parties, specifying whether the conference has occurred and specifying any issues that
 have been resolved. If the need for a hearing has been eliminated, the motion may simply be
 taken off-calendar. Failure to participate meaningfully in the conference may result in the
 imposition of monetary or other sanctions.
      The obligation to "meet and confer" does not apply to applications to appear pro hac vfce
 or to motions to withdraw as counsel of record.

 FORMAT OF PAPERS FILED IN CONNECTION WITH MOTIONS -
     Counsel and unrepresented parties must comply with all applicable statutes, Rules of
 Court, and Local Rules regarding motions, including but not limited to their format.
 Additionally, exhibits attached to motions and oppositions must be separately tabbed, so that
 exhibits can be easily identified and retrieved.
 ELECTRONIC SERVICE AND DOCUMENT DEPOSITORY
     The parties, especially in cases involving numerous parties or large quantities of
 documents, are encouraged to agree to electronic service for all pleadings, motions, and other
 materials filed with the court as well as all discovery requests, discovery responses, and
 correspondence. Nevertheless, parties must still submit "hard" copies to the court of any
 pleadings, motions, or other materials that are to be filed.
 INFORMAL DISCOVERY CONFERENCES
     The court is available for informal discovery conferences at the request of counsel. Such
 conferences may address the scope of allowable discovery, the order of discovery, issues of
 privilege,

  7                                                                                   Revised August 10, 2016


                                                                                                         EXHIBIT A
                                                                                                          Page 46
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 35 of 47 Page ID #:48


                     GUIDELINES FOR THE COMPLEX LITIGATION PROGRAM

                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                  COUNTY OF SAN BERNARDINO
                                      JUDGE DAVID COHN
                                       DEPARTMENT S-26


  and other discovery issues that may arise. Counsel may eontact the Judicial Assistant assigned to the
  Complex Litigation Department to schedule an informal conference (909-521-3519).
      Before f ling any discovery motion, the moving parry is required to "meet and confer" with
  counsel as required by statute. If the "rneet and confer" exchange fails to resolve all issues,
  the moving party is required to request an informal conference with the court before filing any
  discovery motion.

  CONFIDENTIAL DOCUIVIENT AND PROTECTIVE ORDERS
      Proposed protective orders dealing with confidential documents should state expressly that
  nothing in the order excuses compliance with California Rules of Court, rules 2.550 and 2.551.
  Proposed protective orders that are not compliant with the requirements of the Rules of Court
  will be rejected,

  THE PRETRIAL CONFERENCE
      The court will schedule a pre-trial conference, generally thirty to sixty days in advance of
  the trial. Counsel and the court will discuss the following matters, which counsel should be
  fully informed to address:
               Whether trial will be by jury or by the court.
               Anticipated motions in limrne or the need for other pre-trial rulings.
               The anticipated length of trial.
               The order of proof and scheduling of witnesses, including realistic time estimates for
               each witness for both direct and cross-examination.
               If there is a large number of anticipated witnesses, whether counsel wish to have
               photographs taken of each witness to refresh the jury's recolleetion of each witness
               during closing argument and deliberation.
               Whether deposition testimony will be presented by video,
           • The need for evidentiary rulings on any lengthy deposition testimony to be
               presented at trial.
               Stipulations of fact.
               Stipulations regarding the admission of exhibits into evidence.
               If there 'ss a large amount of documentary evidence, how the exhibits will be
               presented in a meaningful way for the jury.
               The use of technology at trial, including but not limited to electronic evidence.
               Any unusual legal or evidentiary issues that may arise during the trial.

                                                                                            Revised August 10, 2016



                                                                                                              EXHIBIT A
                                                                                                               Page 47
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 36 of 47 Page ID #:49


                    GUIDELINES FOR THE COMPLEX LITIGATION PROGRAM

                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                 COUNTY OF SAN BERNARDINO
                                     JUDGE DAVID COHN
                                      DEPARTMENT S-26


   THE TRIAL READINESS CONFERENCE
       Trial Readiness Conferences are held at 8:30 a.m. on the Thursday morning preceding the
   scheduled trial date. Counsel and unrepresented parties must comply fully with Local Rule
   411.2, unless otherwise directed by the court. Failure to have the required materials available
   for the court may result in the imposition of monetary or other sanctions.

   TRIAL
      Trial dates are generally Monday through Thursday, 10:00 a.m. to 12:00 p.m. and 1:30
   p.m. to 4:30 p.m. Lengthy trials, however, may require deviation from this schedule. Unless
   otherwise ordered by the court, counsel and unrepresented parties must be present in the
   courtroom at least ten minutes before each session of trial is seheduled to begin.
       Whenever possible, issues to be addressed outside the presence of the jury should be
   scheduled in a manner to avoid the need for the jury to wait.
      Counsel are also directed to the "Rules and Requirements for Jury Trials" for Department
   S-26 (known as the "Green Sheet"). Copies are available upon request in Department S-26.




   9                                                                                    Revised August 1.0, 2016



                                                                                                           EXHIBIT A
                                                                                                            Page 48
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 37 of 47 Page ID #:50

                GUIDELINES FOR THE COMPLEX LiTIGAfiION PROGRAM                                      12/04/17

                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                             COUNTY OF SAN BERNARDINO
                                 JUDGE DAVID COHN
                                  DEPARTMENT S-26


 THE SAN BERNARDINO COUNTY COMPLEX LITIGATION PROGRAM
     Department S-26 is the Complex Litigation Department for the Superior Court of the State of
 California, County of San Bernardino. It is located at the San Bernardino Justice Center, 247 West
 Third Street, San Bernardino, CA 92415-0210, on the eighth floor. Judge David Cohn presides in the
 Complex Litigation Department. The telephone number for the Complex Litigation Department's
 Judicial Assistant is 909-521-3519.

 DEFINITION OF COMPLEX LITIGATION
     As defined by California Rules of Court, rule 3.400(a), a complex case is one that requires
 exceptional judicial management to avoid placing unnecessary burdens on the court or the litigants
 and to expedite the case, keep costs reasonable, and promote efI'ective decision making by the court,
 the parties, and counsel.

 Complex cases typically have one or more of the following features:
          • A large number of separately represented parties.
          • Extensive motion practice raising difficult or novel issues that will be time-consuming to
              resolve.
          • A substantial amount of documentary evidence.
          • A large number of witnesses.
          • Coordination with related actions pending in one or more courts in other counties or
              states or in a federal court.
          • Substantial post-judgment judicial supervision

    Complex cases may include, but are not necessarily limited to, the following types of cases:
          • Antitrust and trade regulation claims.
          • Construction defect claims involving many parties or structures.
          • Securities claims or investment losses involving many parties.
          • Environmental or toxic tort claims involving many parties.
          • Mass torts.
          • Class actions.
          • Claims brought under the Private Attorney General Act (PAGA).
          • Insurance claims arising out of the types of claims listed above.
          • Judicial Council Coordinated Proceedings (JCCP).
          • Cases involving complex financial, scientific, or technological issues.
                                                                                    Revised August 10, 2016 - GH




                                                                                                          EXHIBIT A
                                                                                                           Page 49
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 38 of 47 Page ID #:51

                   GUIDELINES FOR THE COMPLEX LITIGATION PROGRAM

                        SUPERIOR COURT Ol+ TIIE STATE OF CALIFORNIA
                                COUNTY OF SAN BERNARDINO
                                    JUDGE DAVID COHN
                                     DEPARTMENT S-26



         CASES ASSIGNED TO THE COMPLEX LITIGATION DEPARTMENT

              A. Cases Designated by a Plaintiflas Complex or Provisionally Complex
          Commencing July 1, 2016, all cases designated by a plaintiff as eomplex or provisionally
     complex on the Civil Case Cover Sheet (Judicial Council Form CM-100) will be assigned
     initially to the Complex Litigation Department. At the time the complaint is filed, the Court
     Clerk will schedule an Initial Case Management Conference as provided by California Rules of
     Court, rule 3.750, for a date no later than seventy-five days affter the filing of the complaint.
          A plaintiffdesignating the case as complex or provisionally complex must file and serve a
     Notice of the Initial Case Management Conference and a copy of these guidelines, along with
     service of the summons and cornplaint, no later than thirty days before the conference, and
     must file the Notice and Proof of Service with the court.
          A defendant who agrees that the case is complex or provisionally complex may indicate a
     "Joinder" on the Civil Case Cover Sheet (Form CM-100).
          A defendant who disagrees that the case is complex or provisionally complex may raise the
     issue with the court at the Initial Case Management Conference.

             B. Cases Counter-Designated By a Deffendant as Complex or Provisionally
                 Complex
         Commencing July 1, 2016, all cases which were not designated by a plaintiffas complex or
     provisionally complex, but which are counter-designated by a defendant (or cross-defendant)
     as complex or provisionally complex on the Civil Case Cover Sheet (Judicial Council Form
     CM-100), will be assigned or re-assigned to the Complex Litigation Department. At the time
     the counter-designation is filed, the Court Clerk will schedule an Initial Case Management
     Conference as provided by California Rules of Court, rule 3.750, for a date no later than
     forty-five days after the filing of the counter-designation.
         A defendant or cross-defendant who files a complex counter-designation must serve a
     Notice of the Initial Case Management Conference and a copy of these guidelines no later
     than thirty days before the conference, and must file the Notice and Proof of Service with the
     court.
         A plaintiff or other party who disagrees with the counter-designation may raise the issue
     with the court at the Initial Case Management Conference.



                                                                                   Revised August 10, 2016




                                                                                                             EXHIBIT A
                                                                                                              Page 50
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 39 of 47 Page ID #:52

                    GUIDELINES FOR THL COMPLEX LITIGATION PROGRAM

                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                 COUNTY OF SAN BERNARDINO
                                     JUDGE DAVID COHN
                                      DEPARTMENT S-26


             C. Other Cases Assigned to the Complex Lit►gation Department
     Commencing July 1, 2016, whether or not the parties designate the case as complex Qr
  provisionally complex, the following cases will be initially assigned to the Complex Litigation
  Department:
                    All Construction Defect Cases.
                  • All Class Actions.
                  • All Cases Involving Private Attorney General Act (PAGA) Claims.
                    All Judicial Council Coordinated Proceedings (JCCP).

      At the time the complaint is filed, the Court Clerk will schedule an Initial Case Management
  Conference as provided by California Rules of Court, rule 3.750, for a date no later than
  seventy-five days after the filing of the complaint.
     The plaintiff must file and serve a Notice of the Initial Case Management Conference and a
  copy of these guidelines, along with service of the summons and complaint, no later than thirty
  days before the conference, and must f le the Notice and Proof of Service with the court.

  REFERRAL TO THE COMPLEX LITIGATION DEPARTMENT BY OTHER DEPARTMENTS
      Commencing July 1, 2016, a judge who is assigned to a case may, but is not required to,
  refer the case to the Complex Litigation Department to be considered for treatment as a
  complex case if (1) the case was previously designated by a party as complex or provisionally
  complex, or (2) the referring judge deems the case to involve issues of considerable legal,
  evidentiary, or logistical complexity, such that the case would be best served by assignment to
  the Complex Litigation Department. Such a referral is not a re-assignment, but is a referral for
  consideration.
      In any ca.se referred by another judge to the Complex Litigation Department, the Complex
  Litigation Department will schedule an Initial Case Management Conference within thirty days
  and will provide notice to all parties along with a copy of these guidelines. If the case is
  determined by the Complex Litigation Department to be appropriate for treatment as a complex
  case, the case will be re-assigned to the Complex Litigation Department at that time. If the
  case is determined by the Complex Litigation Department not to be complex, it will be returned
  to the referring judge.

       The Civi! Case Cover Sheet (Judicial Council Fonn CM-100) may not reflect the presence of a PAGA claim.
   PAGA claims erroneousiy assigned to non-complex departments are subject to re-assigninent by thc assigned
   judge to the Complex LiLigation DepartmenL

       PetiUons for administrative tivrits of mandamus under Code of Civil Procedure section 1094 are also assigned
  to the Complex Litigation Department, but are not subject to these GuideIines and procedures.
  3                                                                                                  Revised August 10, 2016


                                                                                                                        EXHIBIT A
                                                                                                                         Page 51
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 40 of 47 Page ID #:53


                  GUTDELINES FOR THE COMPLEX LITIGATION PROGRAM

                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                COUNTY OF SAN BERNARDINO
                                    JUDGE DAVID COHN
                                     DEPARTMENT S-26

   STAY OF DISCOVERY PENDING THE INITIAL CASE MANAGEMENT CONFERENCE
      Commencing Jtily i, 2016, for cases that are assigned to the Complex Litigation
   Department, discovery is automatically stayed pending the Initial Case Management
   Conference, or until further order of the court. Discovery is not automatically stayed,
   however, for cases that were initiaily assigned to other departments and are referred to the
   Complex Litigation Department for consideration, unless the referring judge stays discovery
   pending determination by the Complex Litigation whether the case should be treated as
   complex.

   OBLIGATION TO CONFER BEFORE THE INITIAL CASE MANAGEMENT CONFERENCE
      Prior to the Initial Case Management Conference, all parties are required to meet and
   confer to discuss the items specified in California Rules of Court, nale 3.750(b), and they are
   required to prepare a Joint Statement specifying the following:
               Whether additional parties are likely to be added, and a proposed date by which any
               such parties must be served.
           • Each party's position whether the case should or should not be treated as a
               complex.
               Whether there are applicable arbitration agreements.
               Whether there is related litigation pending in state or federal court.
               A description of the major legal and factual issues involved in the case.
               Any discovery or trial preparation procedures on which the partaes agree. The
               parties should address what discovery will be required, whether discovery should be
               conducted in phases or otherwise limited, and whether the parties agree to
               electronic service and an electronic document depository and, if so, their preferred
               web-based electronic service provider.
               An estimate of the time needed to conduct discovery and to prepare for trial.
               The parties' views on an appropriate mechanism for Alternative Dispute Resolution.
               Any other matters on which the parties request a court ruiing.

   The Joint Statement is to be filed directly in the Complex i.itigation Department no later than five
   calendar days before the conference. This requirement of a Joint Statement is not satisfxed by using
   Judicial Council Form CM-110, pursuant to California Rules of Court, rule 3.725(a), or by parties filing
   individual statements. Failure to participate meaningfully in the "meet and confer" process or failure to
   submit a Joint Statement may result in the imposition of monetary or other sanctions.


                                                                                              Revised August 10, 2016



                                                                                                                 EXHIBIT A
                                                                                                                  Page 52
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 41 of 47 Page ID #:54


                   GUIDELINES FOR THE COMPLEX LITIGATION PROGRAM

                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                     COUNTY OF SAN SERNARDINO
                                         JUDGE DAVID COHN
                                          DEPARTMENT S-26

 THE INITIAL CASE MANAGEMENT CONFERENCE
     At the Initial Case Management Conference, the court will determine whether the action is
 a complex case, as required by California Rules of Court, ruIe 3.403. If the court determines
 the case is complex, the court will issue further management-related orders at that time. If the
 court determines the case is not complex, the case may be retained by the judge in
 Department S-26, but not treated as a complex case, or it may be reassigned to a different
 department; if the case was referred by another judge and the case is found to be
 inappropriate for treatment as a complex case, the case will be returned to the referring judge.
     At the Initial Case Management Conference, the court and counsel will address the
 subjects listed in California Rules of Court, rule 3.750(b), and all issues presented by the 7oint
 Statement.
     Once a case is deemed complex, the funetion of the Initial Case Management Conference
 and all subsequent Case Management Conferences is to facilitate discovery, motion practice,
 and trial preparation, and to discuss appropriate mechanisms for settlement negotiations.
     Lead counsel should attend the Initial Case Management Conference. Counsel with
 secondary responsibility for the case may attend in lieu of lead counsel, but only if he or she is
 fully informed about the case and has full authority to proceed on all issues to be addressed at
 the conference. "Special Appearance" counsel (lawyers who are not the attorneys of record)
 are not allowed. With the exception of minor parties (e.g., subcontractors with a limited scope
 of work in large construction defect cases), telephonic appearances are discouraged.
 California Rule of Court, rule 3.670, subdivision (f)(2), authorizes the court to require
 attendance at hearings in person "if the"court determines on a hearing-by-hearing hasis that a
 personal appearance would materially assist in the determination of the proceedings or in the
 effective management or resolution of the particular case." To assist the court in making this
 "hearing-by-hearing" determination, any party who intends to attend the Initial Case
 Management Conference telephonically must notify the court of such intention no later than
 five court days before the hearing. The court will make a determination at that time whether or
 not personal attendance is required.

 CASE MANAGEMENT ORDERS
     In most cases, the court will issue formal, written case management orders. Typically,
 complex construction defect cases will proceed pursuant to such an order. Other cases
 involving numerous parties or unusual logistical complexity wiIl likely be appropriate for such a
 written order as well. The need for a written case management order will be discussed at the
 Initial Case Management Conference or at later times as the need arises. The parties will
 prepare such orders as directed by the court.
 5                                                                                       Revised August 10, 2016


                                                                                                            EXHIBIT A
                                                                                                             Page 53
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 42 of 47 Page ID #:55


                   GUIDELINES FOR THE COMPLEX .LITIGATION PROGRAM

                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                               COUNTY OF SAN BERNARDINO
                                   JUDGE DAVID COHN
                                    DEPARTMENT S-26

  FURTHER CASE MANAGEMENT CONFERENCES
      After the Initial Case Management Conference, the court will schedule further case
  management conferences as necessary and appropriate on a case-by-case basis. As issues
  arise during discovery and preparation for trial, the parties may also request additional case
  management conferences by making arrangements through the Judicial Assistant assigned to
  the Complex Litigation Department (909-521-3519). The court will schedule such additional
  case management conferences at the earliest opportunity.
      As with the Initial Case Management Conference, lead counsel should attend all case
  management conferences. Counsel with secondary responsibility for the case may attend in
  lieu of lead counsel, but only if he or she is fully informed about the case and has full authority
  to proceed on ail issues to be addressed. "Special Appearance" counsel (lawyers who are not
  the attorneys of record) are not allowed. With the exception of minor parties (e.g.,
  subcontractors with a limited scope of work in large construction defect cases), telephonic
  appearances are discouraged. California Rule of Court, rule 3.670, subdivision (f)(2),
  authorizes the court to require attendance at hearings in person "if the court determines on a
  hearing-by-hearing basis that a personal appearance would materially assist in the
  determination of the proceedings or in the effective management or resolution of the particular
  case." To assist the court in making this "hearing-by-hearing" determination, any party who
  intends to attend the Initial Case Management Conference telephonically must notify the court
  of such intention no later than ftve court days before the hearing. The court wiU make a
  determination at that time whether or not personal attendance is required.

  VOLUNTARY SETTLEIYIENT CONFERENCES
      If all parties agree, the court is available to conduct settlement conferences. Requests for
  settlement conferences may be made at any Case Management Conference or hearing, or by
  telephoning the Judicial Assistant for the Complex Litigation Department (909-521-3519).

  MANDATORY SETTLEMENT CONFERENCES
      In appropriate cases, the court may order mandatory settlement conferences. Parties with
  full settlement authority, including insurance adjustors with full settlement authority, must
  attend all mandatory settlement conferences in person. Availability by telephone is not
  allowed at mandatory settlement conferences.



  6                                                                                       ltevised August 10, 2016




                                                                                                              EXHIBIT A
                                                                                                               Page 54
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 43 of 47 Page ID #:56


                      GUIDELINES FOR THE COMPLEX LITIGATION PROGRAM

                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                  COUNTY OF SAN BERNARDINO
                                      JUDGE DAVID COhIN
                                       DEPARTMENT S-26

 MANAGEMENT OF CLASS ACTIONS
    In class actions and putative class actions that are deemed complex, the Initial Case
 Management Conference will function as the Case Conference required by California Rules of
 Court, rules 3.762 and 3.763.

 OBLIGATION TO MEET AND CONFER REGARDING MOTIONS
     In addition to any other requirement to "meet and confer" imposed by statute or Rule of
 Court in connection with motions, all counse) and unrepresented parties are required to "meet
 and confer" in a good faith attempt to eliminate the necessity for a hearing on a pending
 motion, or to resolve or narrow some of the issues. The moving party must arrange for the
 conference, which can be conducted in person or by telephone, to be held no later than four
 calendar days before the hearing. No later than two calendar days before the hearing, the
 moving party is required to file a notice in the Complex Litigation Department, with service on
 all parties, specifying whether the conference has occurred and specifying any issues that
 have been resolved. If the need for a hearing has been eliminated, the motion may simply be
 taken off-calendar. Failure to participate meaningfully in the conference may result in the
 imposition of monetary or other sanctions.
     The obligation to "meet and confer" does not apply to applications to appear pro hac Wce
 or to motions to withdraw as counsel of record.

 FORMAT OF PAPERS FILED IN CONNECTION WITH MOTIONS
     Counsei and unrepresented parties must comply with all applicable statutes, Rules of
 Court, and Local Rules regarding motions, including but not limited to their format.
 Additionally, exhibits attached to motions and oppositions must be separately tabbed, so that
 exhibits can be easily identified and retrieved.
 ELECTRONIC SERVICE AND DOCiMENT DEPOSITORY
     The parties, especiallyin cases involving numerous parties or large quantities of
 documents, are encouraged to agree to electronic service for all pleadings, motions, and other
 materials filed with the court as well as all discovery requests, discovery responses, and
 correspondence. Nevertheless, parties must still submit "hard" copies to the court of any
 pleadings, motions, or other materials that are to be fiied.
 INFORMAL DISf'~VERY CONFERENCES
     The court is availabie for informaI discovery conferences at the request of counsel. Such
 conferences may address the scope of allowable discovery, the order of discovery, issues of
 privilege,

  7                                                                                   Revised August 10, 2016


                                                                                                         EXHIBIT A
                                                                                                          Page 55
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 44 of 47 Page ID #:57

                      GUTDELINES FOR THE COMPLEX L.ITIGATION PROGRAM

                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                  COUNTY OF SAN BERNARDINO
                                       JUDGE DAVID COHN
                                        DEPARTMENT S-26


  and other discovery issues that may arise. Counsel may contact the Judicial Assistant assigned to the
  Complex Litigation Department to schedule an informal conference (909-521-3519).
      Before filing any discovery motion, the moving party is required to "meet and confer" with
  counsel as required by statute. If the "meet and confer" exchange fails to resolve all issues,
  the moving party is required to request an informal conference with the court before filing any
  discovery motion.

  CONFIDENTIAL DOCUMENT AND PROT.ECTIVE ORDERS
      Proposed protective orders dealing with confidential documents should state expressly that
  nothing in the order excuses compliance with Califomia Rules of Court, rules 2.550 and 2.551.
  Proposed protective orders that are not compliant with the requirements of the Rules of Court
  will be rejected.

  THE PRETRIAL CONFERENCE
      The court will schedule a pre-trial conferenee, generaIly thirty to sixty days in advance of
  the trial. Counsel and the court will discuss the following matters, which counsel should be
  fully informed to address:
               Whether trial will be by jury or by the court.
               Anticipated motions in limine or the need for other pre-trial rulings.
               The anticipated length of trial.
               The order of proof and scheduling of witnesses, including realistic time estimates for
               each witness for both direct and cross-examination.
           • If there is a large number of anticipated witnesses, whether counsel wish to have
               photographs taken of each witness to refresh the jury's recollection of each witness
               during closing argument and deliberation.
               Whether deposition testimony will be presented by video.
               The need for evidentiary rulings on any lengthy deposition testimony to be
               presented at trial.
               Stipulations of fact.
           • Stipulations regarding the admission of exhibits into evidence.
               If there is a large amount of documentary evidence, how the exhibits will be
               presented in a meaningful way for the jury.
           • The use of technology at trial, including but not limited to electronic evidence.
           • Any unusual legal or evidentiary issues that may arise during the trial.

                                                                                             Revised August 10, 2016




                                                                                                                EXHIBIT A
                                                                                                                 Page 56
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 45 of 47 Page ID #:58


                   GUIDELINES FOR THE COMPLEX LITIGATXON PROGRAM

                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                COUNTY OF SAI+i BER.NARDINO
                                    JUDGE DAV7.D COHN
                                     DEPARTMENT S-26


  THE TRIAL READII~ESS CONFERENCE
      Trial Readiness Conferences are held at 8:30 a.m. on the Thursday morning preceding the
  scheduled trial date. Counsel and unrepresented parties must comply fully with Local Rule
  411.2, unless otherwise directed by the court. Failure to have the required materials available
  for the court may result in the imposition of monetary or other sanctions.

  TRIALS
      Trial dates are generally Monday through Thursday, 10:00 a.m. to 12:00 p.m. and 1:30
  p.m. to 4:30 p.m. Lengthy trials, however, may recluire deviation from this schedule. Unless
  otherwise ordered by the court, counsel and unrepresented parties must be present in the
  courtroom at least ten minutes before each session of trial is scheduled to begin.
      Whenever possible, issues to be addressed outside the presence of the jury should be
  scheduled in a manner to avoid the need for the jury to wait.
      Counsel are also directed to the "Rules and Requirements for Jury Trials" for Department
  S-26 (known as the "Green Sheet"). Copies are available upon request in Department S-26,




   9                                                                                   Revised August 10, 2016



                                                                                                          EXHIBIT A
                                                                                                           Page 57
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 46 of 47 Page ID #:59


                                                                   ddm
    ATFOAkEY 611-PARTY VniOUT ATTORNEY Obbid, Sta16 8;,M+~mber,kd ay lassk
   --Sh*nWestriokj-2353.i3.-

     -:1- JWMabia-M&ka                  Ste.-N5                                                                                I L.E 0
     tos AhW6S                                                                                                SUPERIOR COURT OF CALtFORNIA
              .       1:'CA*90Q25: -                                                                            COUNTY'OF SAN E)ERNARDINO
          .TELFPH0tJE- NW 8-1-0)156-5303                       FAXNa:                                            SAN BERNARDINO WrTRICT.
    A-rT.oP.NEY-roAv,%=). lauittff
                                                      San- Bernaidin6                                                      DEC 6 4 2017:
                      ;247
         STREETADDREss.          Weti Thitd Siriei
                       an Bditaidin ; 12A 92415~02-10
          stwttjnm' E. gon, 96ihafffifidbisdid... C' il Divition,                                             BY
                                                                                                                         nA.NIE           .1.
                                                                                                                                          Ti      DEPUTY
                                                                                                                                                ~D~~
                                                                                                                                            RA O.
                                                                                                                         D.
     CASEIINA It`
     ffAGMXN -V..-kMAZ64.FW1U;MENT-SEi"VICES,                                              etal.
        CML CWS8:0 ,OVER S *HEET                                                                            CME NUMBEP:
                                                                   Complex Case Deei9n Mlon
        :Unlirrilte
                 'd'  r   Limited                                                                                MIA           T?-2S7.
         (Amount         (Amount                             [:3 counter                  jowder
         -demarided       demoinded Is                       Filed WiWfirst appearan-ce by Oefendant
        .exwads:$25,;00) -$25,660.dr. 10§s)                     (Cal..RulestifC6u.i.tiiul63.402)             :DEFiT.
                                            flOMP 7-5 D8(0W.MqS(-0&-00MP1e1B41(S9&7n.EEqf1004.0n Pj9Le Z).
   1 PhOck.gise bb; below fbr the! dase type1hat bE:st:descdbes this odse:
     Auto; Torf - .                               Coiitract                                                        ddrnplex--61011ti61tldn
           'Auto.(22                                     Breid. h'df dqiW4cV              oly (06)   (Cal..Rulks-of'court, rplab 3AD6-0;4
                                                                                                                                        '63)
                      e'd. mal.prift (46)
              Voin'sui'                                    Q Rule 3.740 coh.e.cffons                        Ant1-IwpIrrrAde.Tgu1aUQn:(03)                       FAX
      Qth?r-PI1PD1WD (Pep;onal InjurylProper.ty                    Cither ccikcUons(09)                                       ct(-,i&0)
      6arna,giA*0n9f1uI-De?0),Tort                         Q lns'urance coverage (iBj                El Mass toO(
                                                                                                                40)
              s
              *'best6s'(04)
                                                                 Other contratt(37)                  Q Becujiiies lillgallon.(28)
              Prcduct fijIJ6itk',(24)                      Real Property                                    Environmentalffokic'tort'(30)
                                                           F Emlri~nt doffialrAnvetse                F7     Insurance coverage.d@]Ms-adslng Varp%the:
                                                                 condemnallan (14)                          dbove ilifed ptovislonally complex
                                                           F--1 0~4fq evI660h~(33)
                                                                           * . -    -                       typbs. (41)
      fidri-,Plfp~     ipt4e aq!~- -
             .6~!Oessltortlunfalr busines~s. pradtice.(07) '0 Otheir. r01 property-(26)                        ~ . ot Jud
                                                                                                     'ET6itament        .9man(
              cwlraohts(08)                                WilawWl DbWincir                          Q      Enfarcern* ent ofjudgrtient.(20)
              Miamaition(13)                               F-1 commer6w w.)                          -.M 1secillueo.us Civll izomplaini
      'ED F(audoo                                          F-1 Fiesidenilil (kj                     E:1 11160=
       E-
        -1    lntellecttitl prooeq. (19)                   F-1    Drugs(36)                              Other compld.I.I.,(1701 spedfiWAOD!14y.(42).
       F—I    Pibf6siid6I'negII§ehce.(25)                  :Judictal RovieW                         mlsCdftneous Clvll Patitloh
              QffWr fion:1211M7VYI) Iort,(*                 Q .Assetforfeiture.   (M                     PartnefshlpgrW rpoiralb.~dvirnM&-
                                                                  Pefition re: grbihilon award'(1f) -=
                                                                                                         0* P.611110TIP9.1, slped .fi.ejdapove).(43)
              Wrprt§ftd't%rmI;7atIon (36                          Wdt bf Friandirte (02)


   -2. This~ cis6
             .   - I I I is    L—J.1s nbt complex under rule 3.400 Ofthe Califomia Rulbspf CowL lf*iheca~SaIs com016x,;rrf~frk'tW
        Ncthrs.reqOving e'xc'epfional judicial managem"erit
                -Large liumber 6fs604"y tpo sented Parties      A       LargR numbe rof-wilnessei
        b.m imensive mofion'pracbce rWsing'difficult or novel e. CoordinaUon with related actions pdnding1ri dhd or mqte Oprts
                      n vvi'll b6-tlrnettqonsuinin jo:resclve
                 lss~thzt                                               iry other ootintids, stgWs, or cdfJnffi6tjt&-'1n-. a.f0ftr51
                                                                                                                           .         ODuft
       'ct. Q StibstantW
                    -        amourittof-documentary eviden'cu'  1.      864stooffAl                          supeWsW
   -3..--.R6medUs6ugh  ' t-(dhec*-aW.
                                 . -that apply). at     mono-iary' bt~M noiiinobetaq'; di~rjafatory orinjunCtrVBTefidf M      punifi*
    4i. Numl~e.of cjUsos of acilon~(soLm &W 1.LC.226.7,512;2.LC.223,, LCE               .5-so, 4AL &2
                                                                                                 form -01
                                                                                                      C. M1    I * 5,LC
                                                                                                          0 ~20,
                                                                                                             5.?   I           .A
                                                                                                                        226- et,..-,.
    5.Thii-blast- El Is Ols:not - adass             '.achonsuh.
    6.-if th'ere.aro any Wown related cased,'file:aind s~rvep'nobce of related case..(YO may i serformW-0I
        . Noi!dmber 21,2017
   .Date,
   ShawnQVt9fick


                                  cqyger-pheet with the-first:paper'filed in lheacUon or proceed~~g (except srnbg daimilta§e; or-.cdoes MW
       'finiderthei po*(~~fam
                            l lly.CqOb,              qrYVelfare 4pd lnsfttionp Cpde),(Cal. Rules.6f Cout- nde 3.220) Feillure-1bfilLe'rii  EFLkit

      t Til&thtsc&ir shqet In tddidon to any cover gheet required by.loo9l oourt rulp—
      .:,Ifth)s. ca"se is complex,unaer rule. 3.400 et seq. 6f thei Califomia Rdes (if Cq;u"O, ydu Untist s:eive 6 coRy of-this coversheet,on:alll-
        bther Parfiesl`o~thff action. or•procee.ding.
         unlegs tliis is a-collecticins
                               *        !Dase qnder tple 3.740 or bi. bohVlex case, this cDyer sheet vAll beused for statistical PuFposeia.             tfivi




                                                                                                                                                           EXHIBIT A
                                                                                                                                                            Page 58
Case 5:18-cv-00024-JVS-SHK Document 1-1 Filed 01/04/18 Page 47 of 47 Page ID #:60



                                                                                                                                               CM-D10
                                              INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
   To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
   complete and file, along vvith your first paper, the Civil Case Cover Sheet contained on page 1. This information vAll be used to compile
   statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
   one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
   check:the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
   To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
   sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
   its counsel, or both to sanctions under rules 2.30 and 3:220 of the Califomia Rules of Court.
   To, Parties In Rule 3:740 Collectfons Cases. A"collectians case" under rule 3.740 is defined as an action for recovery of money
   owed in a sum stated to be certain that is not more than $25,000, exdusive of interest and attomey's.fees, arising from a transaction in
   which property, services, or rrtoney was acquired on credit, A collections case does not include an action seel4ng the following: (1) tort
   damages, (2) puniUve damages, (3) recovery af real property, (4) recovery of personal property, or (5) a prejudgment writ of
   attachlnent The identification of a case as a rule 3.740 collections case on this form means that it v,rill be exempt from the general
   time-€or-.service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
   case wfll be subject to the requirements for senrice and obtaining a judgment in rule.3.740.
   To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
   case is complex. If a plainfiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
   completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served vvith the
   complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
   plaint'ifPs:designation, a counter-designation that the.case is not complex, or, if the plaintiff has made no designation. a designation that
   the case is cAmplex.                                         CASE TYPES AND E%AMPLES
   Auto Tort                                           Contract                                           Provisionally Coroplex Civil Litigation (CaL
       Auto (22)-Personal Injufy/Property                 Breach of ContractlWarranty (06)                Rules of Court Rules 3,4004.403)
              DamagelWrongful Death                            Breach of Rental/l.ease                         AnfitrustfTrade Regulafion (03)
          Uhinsured Motorist (46) (if the                          Contract (not uniawfut detalner             Consbudion Defect (10)
              case invo'ves an unlnsured                              or wrongfuf eviction)                    Claims Invoiving N1ass Tort (40)
              motorist daim subJect to                         Contract/Wananty Breach-Seller                  Sealtities Litigation (28)
              arbitration, check this item                         Plaintiff (not fi-aud or neglrgence)        Environmental/Toxic Tort (30)
              instead ofAuto)                                  Negllgent Breach of Contract/                   Irlsurance Coverage Claims
   Otler PVPDtWD (Personal Injiuy!                                  Warranty                                       (arising from piovisionatlycompiex
   Propelty Damage/Wrongfui Death)                             Other Breach of ContracUWarranty                    case iype fisted above) (41)
   Tort                                                    Collections (e.g., money owed, open             Enforcement of Judgment
          Asbestos (04)                                        book accounts) (09)                             Enforcement of Judgment (20)
             Asbestos Property Damage                          Collection Case-Seller PiaEntiff                    Abstract o.f.Judgment (Out of
              Asbestos Personal Injury/                        Other Promissory Note/Colledions                        County)
                   Wrongful. Death                                  Case                                           Confesslon of Judgment (non-
          Product Liabiiity (not ashestos or               Insurance Covera.ge (not provisionaity                      domestic reJations)
              toxfc7environmental) (24)                        Complex) (18)                                       Sister State Judgment
          Medical Malpradice (45)                              Auto Subrogation                                    Administrative {~,qency Award
              Medical Malpractice-                             Other Coverage                                         (not unpaid:taxes)
                  Pfiysicians & Surgeons                   OtherConlrad (37)                                       PetitionlCertificaUon of Entry of
              Other Professional Health Care                  Contractual Fraud                                       Judgment on Unpaid Taxes
                  Malpractice                                 Other Contract Dispute                               Other Enforcement of Judgment
                                                       Reai Propetty                                                   Case
          Other PI/PDNUD (23)
              Premises LiabRRy (e.g., slip                 Eminent Domain/lnverse                          Miscellaneous Civil Complaint
                   and falo                                   Condemnatioq (14)                                RICO (27)
              lnten8anat Bodily Injury/PD/WD               Wrongful Eviction (33)                              Other Compiaint (not speafied
                   (e.g., assautt, vandalism)                                                                     &bove) (42)
                                                           Other Real Propetly (e g., qufe! title) (26)
              intenUonai Inflidion of                          Writ of Possesslon of Real PtopEitjr
                                                                                                                   D.eqBratory ReGef bniy
                   Emotiena{ Distress                                                                              InJundive Reiief Only (non-
                                                               Mortgage ForeGosure                                    harasament)
              Negllgent Infliction of                          Quiet TiUa
                   Emotional Distress                          Other Real Property (not eminent                    MeChanics Uen
           Other Pt/PD)WD                                      domain, fand(ord4enant, or                          Other CommeKclal Camplaint
   Non-PIIPDIWD (Other) Tort                                   foreclosure)                                            Case (non-tort/non-compfex)
                                                       Uniawful Detalner                                           Other Civll Complaint
                     tRl
          Bus3ness Tornfair Business                                                                                  (non-tbrbnon-comptex)
             Practice (07)                                 Commerdal (31)
                                                                                                           Miscellaneous Civil"Petidon
          CivU Rights (e.g.; discriminaUon,                Reslderitial (32)                                   Partnership and Corporate
             faise arrest) (not civit                      Drugs (38) (if the case involves itlega/                Governance (21)
              harassment) (08)                                  drugs, check thfs item; otherwis9,             Other PstAlon (not speafled
          Defamation (e.g., s{ander, Iibel)                     report as Commeroial or Residenttai)              above) (43)
               (13)                                    ,ludiclat Revievr                                          Civil Haiassment
          Fraud (16)                                       Asset Forfeiture (05)                                   Workplace Violence
          Intellectual Property (19)                       Pefition Re: Arbi.tration Award (11):                   Eldet/Dependenl Adult
          Professional Negiigenoe (25)                     Writ of Mandate (02)                                        Abuse
              Legal NEalpraCUce                                 Writ-Admlrtistrative Mandamus                      Elecpon Contest
              Othet Professional Malpractice                   Writ-Mand.amus on Limited Court                     PeltUorrfor Name Change
             (not medicat or tegag                                Oase MaUer                                       PetiUon for ReUef From Late
      Other Non-PIlPDAMD Tort (35)                             VYrit-0ther Limited Court l;ase                         Glairii
   Employment                                                     Review                                           Other Civil Petition '
      Wrongful Termination.(36)                            Other Judicial Review (39)
      Other Employment (15)                                   Revlew of Health Officer Order
                                                               Notice of Appeal--Labor
                                                                  Commissioner Appeals
   CM-010 fRev. ,ah 1' 20071                                                                                                                      Paye 2 012
                                                           CIVIL CASE COVER SHEET


                                                                                                                                                   EXHIBIT A
                                                                                                                                                    Page 59
